Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 1 of 120 PageID #: 14




                        EXHIBIT 1
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                                        /s/Jonathan Tse
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         Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 6 of 120 PageID #: 19
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                           Eastern District of Texas
                                                       __________              __________
                       UNILOC 2017 LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 2:18-cv-00553
                          GOOGLE LLC                                          )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                        Uniloc Licensing USA
                                           620 Newport Center Drive, Newport Beach, California 92660
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:



  Place: Quinn Emanuel Urquhart & Sullivan                                              Date and Time:
           50 California Street, FL 22, San Francisco, CA 94111                                              01/07/2020 9:00 am

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        12/16/2019

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                     /s/ Jonathan Tse
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)    Jonathan Tse
jonathantse@quinnemanuel.com | 415-875-6426                              , who issues or requests this subpoena, are:
Quinn Emanuel Urquhart & Sullivan, 50 California Street, FL 22, San Francisco, CA 94111

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
         Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 7 of 120 PageID #: 20
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:18-cv-00553

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
         Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 8 of 120 PageID #: 21
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
         Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 9 of 120 PageID #: 22
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                           Eastern District of Texas
                                                       __________              __________

                       UNILOC 2017 LLC                                         )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      2:18-cv-00553
                          GOOGLE LLC                                           )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                        Uniloc Licensing USA
                                           620 Newport Center Drive, Newport Beach, California 92660
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Testimony:   YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:


 Place: Newport Beach Marriott                                                         Date and Time:
           900 Newport Center Dr, Newport Beach, CA 92660                                                01/07/2020 9:00 am

          The deposition will be recorded by this method:

       u Production: You, or your representatives, must also bring with you to the deposition the following documents,
         electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
         material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        12/16/2019
                                   CLERK OF COURT
                                                                                         OR
                                                                                                               /s/ Jonathan Tse
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)    Jonathan Tse
jonathantse@quinnemanuel.com | 415-875-6426                             , who issues or requests this subpoena, are:
Quinn Emanuel Urquhart & Sullivan, 50 California Street, FL 22, San Francisco, CA 94111

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 10 of 120 PageID #: 23
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 2:18-cv-00553

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
        Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 11 of 120 PageID #: 24

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 12 of 120 PageID #: 25
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DIILOLDWHV SDUHQWV GLYLVLRQV MRLQW YHQWXUHV OLFHQVHHV IUDQFKLVHHV DVVLJQV SUHGHFHVVRUV DQG

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FRQWUROOHG E\ RU XQGHU FRPPRQ FRQWURO ZLWK 8QLORF /LFHQVLQJ DQG DOO SUHGHFHVVRUV DQG

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DQGIRUPHUHPSOR\HHVFRXQVHODJHQWVFRQVXOWDQWVUHSUHVHQWDWLYHVDQGDQ\RWKHUSHUVRQVDFWLQJ

RQ EHKDOI RI DQ\ RI WKH IRUHJRLQJ DQG 3ODLQWLII¶V DIILOLDWHV SDUHQWV GLYLVLRQV MRLQW YHQWXUHV

OLFHQVHHVIUDQFKLVHHVDVVLJQVSUHGHFHVVRUVDQGVXFFHVVRUVLQLQWHUHVWDQGDQ\RWKHUOHJDOHQWLWLHV

ZKHWKHUIRUHLJQRUGRPHVWLFWKDWDUHRZQHGRUFRQWUROOHGE\3ODLQWLIIDQGDOOSUHGHFHVVRUVDQG

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SDUHQWJUDQGSDUHQWRUHDUOLHUGLYLVLRQDOFRQWLQXDWLRQFRQWLQXDWLRQLQSDUWSURYLVLRQDOVUHLVVXH

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              ³5HODWHG3DWHQW3RUWIROLR´PHDQVDQ\SRUWIROLRRURWKHUDJJUHJDWLRQRIDVVHWVWKDW

LQFOXGHVLQSDUWRULQZKROHDWOHDVWRQH$VVHUWHG3DWHQWRUDQ\5HODWHG3DWHQW

              ³1DPHG,QYHQWRU´PHDQVDQ\SHUVRQSHUVRQVQDPHGDVDQLQYHQWRURQWKHIDFHRI

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LQIULQJHPHQWLQWKH8QLORF*RRJOHOLWLJDWLRQV+DQJRXWV<RXWXEH3L[HO6$63L[HO3L[HO

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*RRJOH 6WHS 9HULILFDWLRQ *RRJOH 3KRWRV *RRJOH /HQV *RRJOH 5HYHUVH  ,PDJH 6HDUFK

*RRJOH&ORXG9LVLRQ$3,*RRJOH$XWR0/9LVLRQ1HDUE\0HVVDJHV$3,*RRJOH7RQH)HDWXUHG

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DFWLQJ RQ EHKDOI RI DQ\ RI WKH IRUHJRLQJ DQG )RUWUHVV ,QYHVWPHQW *URXS¶V DIILOLDWHV SDUHQWV

GLYLVLRQVMRLQWYHQWXUHVOLFHQVHHVIUDQFKLVHHVDVVLJQVSUHGHFHVVRUVDQGVXFFHVVRUVLQLQWHUHVW

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,QYHVWPHQW*URXSDQGDOOSUHGHFHVVRUVDQGVXFFHVVRUVLQLQWHUHVWWRVXFKHQWLWLHV

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OHJDOHQWLWLHVZKHWKHUIRUHLJQRUGRPHVWLFWKDWDUHRZQHGRUFRQWUROOHGE\)RUWUHVV&UHGLW&R//&

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,QYHVWPHQW*URXS ³)RUWUHVV,QYHVWPHQW´ )RUWUHVV&UHGLW&RUS&)'%(=//&DQG&)

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WKDWDUHRZQHGRUFRQWUROOHGE\VXFKHQWLWLHVDQGDOOSUHGHFHVVRUVDQGVXFFHVVRUVLQLQWHUHVWWRVXFK

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ZULWWHQUHFRUGHGJUDSKLFRURWKHUPDWWHUZKHWKHUVHQWRUUHFHLYHGRUPDGHRUXVHGLQWHUQDOO\

KRZHYHU SURGXFHG RU UHSURGXFHG DQG ZKDWHYHU WKH PHGLXP RQ ZKLFK LW ZDV SURGXFHG RU

UHSURGXFHG ZKHWKHU RQ SDSHU FDUGV FKDUWV ILOH RU SULQWRXWV WDSHV GLVFV EHOWV YLGHR WDSHV

DXGLRWDSHVWDSHUHFRUGLQJVFDVVHWWHVRURWKHUW\SHVRIYRLFHUHFRUGLQJRUWUDQVFULSWLRQFRPSXWHU

WDSHVGDWDEDVHVHPDLOVSLFWXUHVSKRWRJUDSKVVOLGHVILOPVPLFURILOPVPRWLRQSLFWXUHVRUDQ\

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ZKDWHYHUQDWXUHLQFOXGLQJRULJLQDOVGUDIWVDQGDOOQRQLGHQWLFDOFRSLHVRIHDFKGRFXPHQW ZKLFK

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LQFOXGH FRUUHVSRQGHQFH EOXHSULQWV PHPRUDQGD QRWHV GLDULHV OHWWHUV WHOHJUDSKV WHOHJUDPV

WHOH[HV HPDLOV PHWDGDWD PLQXWHV DJHQGDV FRQWUDFWV UHSRUWV VWXGLHV FKHFNV VWDWHPHQWV

UHFHLSWV UHWXUQV VXPPDULHV SDPSKOHWV FLUFXODUV SUHVV UHOHDVHV DGYHUWLVHPHQWV ERRNV LQWHU

RIILFHDQGLQWUDRIILFHFRPPXQLFDWLRQVKDQGZULWWHQRUW\SHZULWWHQQRWHVQRWDWLRQVRUVXPPDULHV



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RI WHOHSKRQH FRQYHUVDWLRQV PHHWLQJV RU FRQIHUHQFHV EXOOHWLQV FRPSXWHU SULQWRXWV GDWDEDVHV

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DSSOLFDWLRQPDWHULDOVSDWHQWDSSUDLVDOVSULQWHGSXEOLFDWLRQVWUDGHPDUNDSSOLFDWLRQVFHUWLILFDWHV

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DQGDQ\UHOHDVHQRWHVGHVFULELQJWKHIHDWXUHVRUPRGLILFDWLRQVRIVXFKILOHV7KHWHUPVKDOOLQFOXGH

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TXHVWLRQRURWKHULQIRUPDWLRQE\DQ\PHGLXPZKHWKHUE\ZULWWHQRUDORURWKHUPHDQVLQFOXGLQJ

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FRPSDQ\ SDUWQHUVKLS RU RWKHU EXVLQHVV RU OHJDO HQWLW\ LQFOXGLQJ JRYHUQPHQWDO ERGLHV DQG

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³FRQFHUQLQJ´ PHDQV LQ ZKROH RU LQ SDUW FRQVWLWXWLQJ FRQWDLQLQJ FRQWUDGLFWLQJ HPERG\LQJ

FRPPHQWLQJ RQ GHSLFWLQJ GHPRQVWUDWLQJ UHIXWLQJ HYLGHQFLQJ UHSUHVHQWLQJ GLVFXVVLQJ

UHIOHFWLQJ GHVFULELQJ DQDO\]LQJ LGHQWLI\LQJ PHQWLRQLQJ VWDWLQJ VXPPDUL]LQJ EHDULQJ XSRQ

SHUWDLQLQJWRFRPSULVLQJLQYROYLQJDOOXGLQJWRFRPPHQWLQJRQUHIHUULQJGLUHFWO\RULQGLUHFWO\

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              7KHXVHRIDYHUELQDQ\WHQVHVKDOOEHFRQVWUXHGDVWKHXVHRIWKHYHUELQDOORWKHU

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DGPLVVLRQWKDWLGHQWLFDORUVLPLODUWHUPVLQWKHFODLPVRIWKHSDWHQWLQVXLWVKRXOGUHFHLYHVXFK

FRQVWUXFWLRQDQGVKDOOKDYHQRELQGLQJHIIHFWRQ*RRJOHLQWKLVRUDQ\RWKHUSURFHHGLQJ




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KHUHRIDQGWRWKHIXOOH[WHQWSHUPLWWHGE\WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH

              7KLVVXESRHQDVKDOODSSO\WRDOOGRFXPHQWVRUWKLQJVLQ\RXUSRVVHVVLRQFXVWRG\

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EHIRUHWKHGDWHRIWKHSURGXFWLRQ

              ,IDQ\SRUWLRQRIDGRFXPHQWRUWKLQJLVUHVSRQVLYHWRDUHTXHVWWKHHQWLUHGRFXPHQW

RUWKLQJVKDOOEHSURGXFHGUHGDFWLQJRQO\SULYLOHJHGPDWHULDOLIDQ\

              <RXDUHWRSURGXFHWKHRULJLQDODQGHDFKQRQLGHQWLFDOFRS\RIHDFKGRFXPHQWRU

WKLQJVUHTXHVWHGKHUHLQWKDWLVLQ\RXUSRVVHVVLRQFXVWRG\RUFRQWURO

              'RFXPHQWVSURGXFHGSXUVXDQWWRWKHVHUHTXHVWVVKDOOEHSURGXFHGLQWKHRULJLQDO

ILOHVDQGVKDOOQRWEHVKXIIOHGRURWKHUZLVHUHDUUDQJHG'RFXPHQWVZKLFKZHUHVWDSOHGFOLSSHGRU

RWKHUZLVHIDVWHQHGWRJHWKHUVKDOOEHSURGXFHGLQWKDWIRUP

              7KLQJVSURGXFHGSXUVXDQWWRWKHVHUHTXHVWVVKDOOEHSURGXFHGLQWKHLUSUHVHQWIRUP

DQGVKDOOQRWEHFKDQJHGRUPRGLILHGLQDQ\ZD\

              ,QWKHHYHQWWKDWDQ\GRFXPHQWVRUWKLQJVFDOOHGIRUE\WKHVHUHTXHVWVRUVXEVHTXHQW

UHTXHVWVLVWREHZLWKKHOGRQWKHEDVLVRIDFODLPRISULYLOHJHRULPPXQLW\IURPGLVFRYHU\WKDW

GRFXPHQWRUWKLQJLVWREHLGHQWLILHGE\VWDWLQJ

                 D WKHDXWKRU V DGGUHVVHH V DQGDQ\LQGLFDWHGRUEOLQGFRS\HH V 

                 E WKHGRFXPHQW¶VRUWKLQJ¶VGDWHQXPEHURISDJHVDQGDWWDFKPHQWVRU

                 F DSSHQGLFHV

                 G WKHVXEMHFWPDWWHU V RIWKHGRFXPHQWRUWKLQJ

                 H WKHQDWXUHRIWKHSULYLOHJHRULPPXQLW\DVVHUWHGDQG



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               I DQ\ DGGLWLRQDO IDFWV XSRQ ZKLFK \RX ZRXOG EDVH \RXU FODLP RI SULYLOHJH RU

                   LPPXQLW\

            ,IDQ\RIWKHGRFXPHQWVRUWKLQJVDUHFRQVLGHUHG³FRQILGHQWLDO´VXFKGRFXPHQWVRU

WKLQJVVKRXOGEHSURGXFHGVXEMHFWWRWKHWHUPVDQGSURYLVLRQVRIWKHSURWHFWLYHRUGHUHQWHUHGLQ

WKLVFDVH$FRS\RIWKHSURWHFWLYHRUGHULVDWWDFKHGDV([KLELW

            ,IQRGRFXPHQWVRUWKLQJVDUHUHVSRQVLYHWRDSDUWLFXODUUHTXHVW\RXDUHWRVWDWHWKDW

QRUHVSRQVLYHGRFXPHQWVRUWKLQJVH[LVW

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                               5(48(676)25352'8&7,21

5(48(67)25352'8&7,21

       $OO'RFXPHQWV5HJDUGLQJWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

5(48(67)25352'8&7,21

       $OO'RFXPHQWV5HJDUGLQJDQ\LQVSHFWLRQWHVWLQJHYDOXDWLRQRUDQDO\VLVFRQGXFWHGE\

DQ\3HUVRQRIDQ\SURGXFWRUVHUYLFHRI*RRJOHIRUDQ\SXUSRVHE\RURQEHKDOIRI3ODLQWLII

,QFOXGLQJDOO'RFXPHQWVVKRZLQJKRZDQ\SURGXFWRUVHUYLFHRI*RRJOHFRPSDUHVWRRQHRU

PRUHFODLPVRIWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

5(48(67)25352'8&7,21

       $OO'RFXPHQWVWKDWVXSSRUWRUUHIXWHDQ\FRQWHQWLRQWKDWDQ\RIWKH$FFXVHG3URGXFWV

OLWHUDOO\,QIULQJHDQ\FODLPRIWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWVRU,QIULQJHDQ\FODLPRIWKH

$VVHUWHG3DWHQWVRU5HODWHG3DWHQWVXQGHUWKHGRFWULQHRIHTXLYDOHQWV

5(48(67)25352'8&7,21

       'RFXPHQWVVXIILFLHQWWRVKRZZKHQ<RXRUDQ\8QLORF(QWLW\ILUVWEHFDPHDZDUHRIWKH

H[LVWHQFHRIHDFKRIWKH$FFXVHG3URGXFWV,QFOXGLQJ'RFXPHQWVVXIILFLHQWWRVKRZ3ODLQWLII¶V

LQLWLDOGLVFRYHU\RIWKHDOOHJHG,QIULQJHPHQWE\HDFKRIWKH$FFXVHG3URGXFWV

5(48(67)25352'8&7,21

       $OO'RFXPHQWV5HJDUGLQJDQ\GDPDJHRUKDUPDOOHJHGO\VXIIHUHGDVDUHVXOWRIWKHVDOH

RIIHUIRUVDOHRUXVHRIDQ\RI*RRJOH¶VSURGXFWVPHWKRGVRUV\VWHPV

5(48(67)25352'8&7,21

       $OO'RFXPHQWV5HJDUGLQJDQ\FRPSXWDWLRQFDOFXODWLRQRUHVWLPDWLRQRIGDPDJHVORVW

SURILWVRUUHDVRQDEOHUR\DOWLHVFODLPHGLQWKLVRUDQ\DFWLRQLQYROYLQJWKH$VVHUWHG3DWHQWVRU

5HODWHG3DWHQWV




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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 21 of 120 PageID #: 34
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5(48(67)25352'8&7,21

        $OO'RFXPHQWVWKDW<RXKDYHUHFHLYHGIURP7KLUG3DUWLHVWKDWUHODWHWRWKH$VVHUWHG

3DWHQWVRUDQ\SDWHQWLQLWVFKDLQRISULRULW\

5(48(67)25352'8&7,21

        'RFXPHQWVVXIILFLHQWWRVKRZDQ\LQWHUHVWWKDWDQ\7KLUG3DUW\KDVLQWKHRXWFRPHRI

8QLORF*RRJOHOLWLJDWLRQV

5(48(67)25352'8&7,21

        $OO'RFXPHQWV5HJDUGLQJWKHILOLQJRI8QLORF*RRJOHOLWLJDWLRQVRUDQ\RWKHU

ODZVXLWLQYROYLQJWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV,QFOXGLQJ'RFXPHQWV5HJDUGLQJDQ\

SXEOLFDQQRXQFHPHQWVDGYHUWLVHPHQWVOHWWHUVWRWKHHGLWRUSUHVVUHOHDVHVRUFRUUHVSRQGHQFHRU

WHOHSKRQHFRQIHUHQFHVZLWKFXVWRPHUVSURVSHFWLYHFXVWRPHUVGLVWULEXWRUVWUDGHMRXUQDOV

SURIHVVLRQDOVRFLHWLHVRURWKHU3HUVRQV

5(48(67)25352'8&7,21

        $OO'RFXPHQWVDQG&RPPXQLFDWLRQV5HJDUGLQJDQ\GLVFXVVLRQVZLWK7KLUG3DUWLHV

5HJDUGLQJ,QIULQJHPHQWRIDQ\RIWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWVE\*RRJOH

5(48(67)25352'8&7,21

        $OO'RFXPHQWVVKRZLQJKRZDQ\SURGXFWRUVHUYLFHRIDQ\3HUVRQRUHQWLW\FRPSDUHVWR

RQHRUPRUHFODLPVRIWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV,QFOXGLQJDQ\FODLPFKDUWV

5HJDUGLQJWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

5(48(67)25352'8&7,21

        $OO'RFXPHQWV5HJDUGLQJWKHDOOHJHGFRQFHSWLRQDQ\DOOHJHGGLOLJHQFHIURPFRQFHSWLRQ

WRUHGXFWLRQWRSUDFWLFHDQGDQ\DFWXDOUHGXFWLRQWRSUDFWLFHRIWKHDOOHJHGLQYHQWLRQVFODLPHGLQ

WKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV,QFOXGLQJLQYHQWRUQRWHVDQGDQ\&RPPXQLFDWLRQVZLWK




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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 22 of 120 PageID #: 35
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7KLUG3DUWLHV5HJDUGLQJDQ\RIWKHDOOHJHGLQYHQWLRQVFODLPHGLQWKH$VVHUWHG3DWHQWVRU5HODWHG

3DWHQWVRUHDFKSXUSRUWHGLQYHQWRU¶VLQGLYLGXDOFRQWULEXWLRQVWKHUHWR

5(48(67)25352'8&7,21

       $OO'RFXPHQWV5HJDUGLQJWKHUHVHDUFKGHVLJQGHYHORSPHQWRUWHVWLQJRIWKHVXEMHFW

PDWWHUGHVFULEHGRUFODLPHGLQWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV,QFOXGLQJDOOKDQGZULWWHQ

RUW\SHGQRWHVODERUDWRU\QRWHERRNVLQYHQWRUQRWHERRNVFRPSXWHUSURJUDPVFRGHRUGDWD

5(48(67)25352'8&7,21

       $OO'RFXPHQWV5HJDUGLQJWKHILOLQJDQGSURVHFXWLRQRIWKH$VVHUWHG3DWHQWVRU5HODWHG

3DWHQWV,QFOXGLQJDOOGUDIWDQGILQDOYHUVLRQVRIVXFKDSSOLFDWLRQVRIILFHDFWLRQVGUDIWDQGILQDO

YHUVLRQVRIUHVSRQVHVWRRIILFHDFWLRQVDQGDOO&RPPXQLFDWLRQV5HJDUGLQJWKHILOLQJDQG

SURVHFXWLRQRIVXFKSDWHQWDSSOLFDWLRQV

5(48(67)25352'8&7,21

       $OO'RFXPHQWVNHSWE\DQ\SURVHFXWLQJDWWRUQH\VUHODWLQJWRWKH$VVHUWHG3DWHQWVRU

5HODWHG3DWHQWV

5(48(67)25352'8&7,21

       $OO'RFXPHQWV5HJDUGLQJDQ\DVVHUWLRQRUVXJJHVWLRQE\DQ\3HUVRQ,QFOXGLQJ3ODLQWLII

RUDQ\3HUVRQDFWLQJRQEHKDOIRI3ODLQWLIIWKDWDQRWKHU3HUVRQVKRXOGRUPXVWOLFHQVHWKH

$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

5(48(67)25352'8&7,21

       $OOVRXUFHFRGHUHODWLQJWRWKHFRQFHSWLRQGHYHORSPHQWDQGUHGXFWLRQWRSUDFWLFHRIWKH

$VVHUWHG3DWHQWVRU5HODWHG3DWHQWVRUUHODWLQJWRDQ\DOOHJHGHPERGLPHQWRIDQ\FODLPRIWKH

$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV




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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 23 of 120 PageID #: 36
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5(48(67)25352'8&7,21

       $OO'RFXPHQWV5HJDUGLQJDQ\SURSRVHGRUDFWXDOVHWWOHPHQWRIDQ\OLWLJDWLRQSURVSHFWLYH

OLWLJDWLRQRUGLVSXWHVLQYROYLQJWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

5(48(67)25352'8&7,21

       $OOOLFHQVHVRURWKHUDJUHHPHQWVWKDWUHODWHWRULJKWVWRWKH$VVHUWHG3DWHQWVRU5HODWHG

3DWHQWVRU5HODWHG3DWHQW3RUWIROLR

5(48(67)25352'8&7,21

       $OO'RFXPHQWV5HJDUGLQJDQ\OLFHQVHRUDWWHPSWWROLFHQVHWKH$VVHUWHG3DWHQWVRU

5HODWHG3DWHQWVE\DQ\3HUVRQ,QFOXGLQJ3ODLQWLIIRUDQ\3HUVRQDFWLQJRQEHKDOIRI3ODLQWLII

5(48(67)25352'8&7,21

       $OO'RFXPHQWV5HJDUGLQJDQ\FRPSDUDEOHOLFHQVHVWKDWZRXOGDVVLVWLQGHWHUPLQLQJD

UHDVRQDEOHUR\DOW\DSSOLFDEOHWRWKH$VVHUWHG3DWHQWV

5(48(67)25352'8&7,21

       $OO'RFXPHQWV5HJDUGLQJDQ\UR\DOW\UDWHIRUWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

5(48(67)25352'8&7,21

       $OO'RFXPHQWV5HJDUGLQJDQ\HIIRUWVWROLFHQVHVHOOPRQHWL]HRURWKHUZLVHJHQHUDWH

UHYHQXHIURPWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV,QFOXGLQJSUHVHQWDWLRQVPDLOLQJVPHHWLQJ

PLQXWHVOLFHQVHQHJRWLDWLRQVVDOHVQHJRWLDWLRQVFODLPFKDUWVLQIULQJHPHQWDQDO\VHVYDOLGLW\

DQDO\VHVQRWLFHOHWWHUVFHDVHDQGGHVLVWOHWWHUVRIIHUVGUDIWOLFHQVHDJUHHPHQWVDQGWHUPVKHHWV

5(48(67)25352'8&7,21

       $OO'RFXPHQWV5HJDUGLQJWKHYDOXHWRFRQVXPHUVRIDQ\IHDWXUHVIXQFWLRQDOLWLHVRURWKHU

WHFKQLFDOFRPSRQHQWVDOOHJHGO\FRYHUHGE\WKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV




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5(48(67)25352'8&7,21

       $OO'RFXPHQWV5HJDUGLQJDQ\DFWXDORUSURMHFWHGUR\DOWLHVIRUDQ\OLFHQVHRURWKHU

DJUHHPHQWUHODWLQJWRWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWVLQZKROHRULQSDUWDORQHRULQ

FRQMXQFWLRQZLWKDQ\RWKHUSDWHQWVRULQWHOOHFWXDOSURSHUW\

5(48(67)25352'8&7,21

       'RFXPHQWVVXIILFLHQWWRVKRZ<RXUOLFHQVLQJSROLFLHV

5(48(67)25352'8&7,21

       $OO'RFXPHQWV5HJDUGLQJDQ\DFFXVDWLRQE\DQ\3HUVRQRU(QWLW\WKDWDQRWKHU3HUVRQLV

,QIULQJLQJRUKDV,QIULQJHGWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

5(48(67)25352'8&7,21

       $OO'RFXPHQWV5HJDUGLQJDQ\SDVWRUSUHVHQWGHFLVLRQVE\DQ\3HUVRQ5HJDUGLQJ

ZKHWKHUWRDVVHUWDJDLQVWDQ\RWKHU3HUVRQWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV,QFOXGLQJDQ\

DGYDQWDJHVRUGLVDGYDQWDJHVRIVXFKDVVHUWLRQDQ\HYDOXDWLRQRIYDOXHRUULVNWR3ODLQWLIIRIVXFK

DVVHUWLRQDQGDQ\OLNHOLKRRGRIVXFFHVVRIVXFKDVVHUWLRQ

5(48(67)25352'8&7,21

       $OO'RFXPHQWV5HJDUGLQJWKHGHFLVLRQWRDVVHUWWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

LQDQ\OLWLJDWLRQ,QFOXGLQJDOOFRUUHVSRQGHQFHLQYROYLQJ<RXURU3ODLQWLII¶VVKDUHKROGHUV

GLUHFWRUVRURIILFHUV5HJDUGLQJWKHGHFLVLRQWRILOHDQ\OLWLJDWLRQLQYROYLQJWKH$VVHUWHG3DWHQWV

RU5HODWHG3DWHQWV

5(48(67)25352'8&7,21

       $OOGRFXPHQWVFRQFHUQLQJDQ\DJUHHPHQW V EHWZHHQ8QLORF/LFHQVLQJDQGDQ\8QLORF

(QWLW\FRQFHUQLQJWKH8QLORF*RRJOHOLWLJDWLRQV




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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 25 of 120 PageID #: 38
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5(48(67)25352'8&7,21

       'RFXPHQWVVXIILFLHQWWRVKRZWKHRZQHUVKLSDVVLJQPHQWRUFRQYH\DQFHRIDQ\LQWHUHVW

LQWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

5(48(67)25352'8&7,21

       'RFXPHQWVVXIILFLHQWWRLGHQWLI\HDFK3HUVRQKDYLQJDILQDQFLDORUSHFXQLDU\LQWHUHVWLQ

WKHRXWFRPHRI8QLORF*RRJOHOLWLJDWLRQVDVZHOODVWKHW\SHQDWXUHSHUFHQWDJHDQG

DPRXQWRIHDFK3HUVRQ¶VLQWHUHVW

5(48(67)25352'8&7,21

       'RFXPHQWVVXIILFLHQWWRVKRZWKHVDOHVDQGUHYHQXHIRU8QLORFSURGXFWVRU7KLUG3DUW\

SURGXFWVIRUZKLFK8QLORFSURYLGHGWHFKQRORJ\WKDWDOOHJHGO\HPERG\DQ\FODLPRIWKH$VVHUWHG

3DWHQWV

5(48(67)25352'8&7,21

       $OO'RFXPHQWVUHODWLQJWRGLVFXVVLRQVZLWKDQGDPRQJ<RXURU3ODLQWLII¶VERDUG

PHPEHUV,QFOXGLQJPLQXWHVRIWKH%RDUGRI'LUHFWRUV5HJDUGLQJWKH$VVHUWHG3DWHQWVRU

5HODWHG3DWHQWVRU5HODWHG3DWHQW3RUWIROLR

5(48(67)25352'8&7,21

       $OO'RFXPHQWVUHIOHFWLQJVWDWHPHQWVEHWZHHQ<RXDQGDQ\RWKHU3HUVRQRUHQWLW\

FRQFHUQLQJWKHSDWHQWDELOLW\YDOLGLW\HQIRUFHDELOLW\VFRSHLQWHUSUHWDWLRQRUYDOXDWLRQRIWKH

$VVHUWHG3DWHQWV5HODWHG3DWHQWVRU5HODWHG3DWHQW3RUWIROLR

5(48(67)25352'8&7,21

       $OO'RFXPHQWV5HJDUGLQJWKHDYDLODELOLW\RUXQDYDLODELOLW\RIDQ\DOOHJHGO\QRQ

LQIULQJLQJDOWHUQDWLYHVWRWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV




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5(48(67)25352'8&7,21

        $OO'RFXPHQWVFRQFHUQLQJDQ\SDWHQWDELOLW\RUVWDWHRIWKHDUWVHDUFKOLWHUDWXUHVHDUFK

YDOLGLW\VHDUFKSDWHQWDELOLW\RUVWDWHRIWKHDUWDQDO\VLVYDOLGLW\DQDO\VLVHQIRUFHDELOLW\DQDO\VLV

XQHQIRUFHDELOLW\DQDO\VLVLQYDOLGLW\DQDO\VLVRULQIULQJHPHQWDQDO\VLVUHODWHGWRWKH$VVHUWHG

3DWHQWVRUDQ\5HODWHG3DWHQWV

5(48(67)25352'8&7,21

        $OO'RFXPHQWVFRPSULVLQJRU5HJDUGLQJ3ULRU$UW5HJDUGLQJWKHFODLPHGVXEMHFWPDWWHU

RIWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWVRUGLVFXVVLQJGLIIHUHQFHVRUVLPLODULWLHVEHWZHHQWKH

3ULRU$UWDQGDQ\LQYHQWLRQGLVFORVHGRUFODLPHGLQWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

,QFOXGLQJDFRS\RIHDFK'RFXPHQWLGHQWLILHGXQGHU³5HIHUHQFHV&LWHG´LQWKH$VVHUWHG3DWHQWV

RU5HODWHG3DWHQWV

5(48(67)25352'8&7,21

        $OO'RFXPHQWVDQG&RPPXQLFDWLRQV5HJDUGLQJDQ\3ULRU$UWLQFOXGLQJ<RXUDZDUHQHVV

RI3ULRU$UWWKHGDWHDQGFLUFXPVWDQFHVLQZKLFK<RXILUVWJDLQHGDQ\DZDUHQHVVRI3ULRU$UW

DQGDQ\HIIRUWE\RURQEHKDOIRI<RXWRORFDWH3ULRU$UW

5(48(67)25352'8&7,21

        $OO'RFXPHQWV5HJDUGLQJWKHPDQQHUVRUWHFKQLTXHVE\ZKLFKDQ\LQYHQWLRQWKDW<RX

DUJXHLVGLVFORVHGE\DQ\FODLPLQWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWVDOOHJHGO\LPSURYHG

XSRQ3ULRU$UW

5(48(67)25352'8&7,21

        'RFXPHQWVVXIILFLHQWWRVKRZDQ\SXEOLFNQRZOHGJHXVHRUVDOHRIDQ\VXEMHFWPDWWHU

FODLPHGE\WKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV




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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 27 of 120 PageID #: 40
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5(48(67)25352'8&7,21

        $OO3ULRU$UWGLVFORVHGE\DQ\SRWHQWLDORUDFWXDOOLFHQVHHRIWKH$VVHUWHG3DWHQWV

,QFOXGLQJLQSULRUOLWLJDWLRQVQHJRWLDWLRQVRUGLVFXVVLRQV

5(48(67)25352'8&7,21

        $OO'RFXPHQWV5HJDUGLQJDQ\VDOHRIIHUWRVHOOXVHGLVFORVXUHLQYHQWLRQRUGHULYDWLRQ

RIWKHDOOHJHGLQYHQWLRQFODLPHGLQWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWVE\DQ\3HUVRQ

5(48(67)25352'8&7,21

        $OO'RFXPHQWVVHQWE\<RXWR*RRJOHWKURXJKDQ\PHDQVRI&RPPXQLFDWLRQ

5(48(67)25352'8&7,21

        $OO'RFXPHQWVWKDWVXSSRUWRUUHIXWHDQ\FRQWHQWLRQWKDWWKHDOOHJHGLQYHQWLRQVFODLPHG

LQWKH$VVHUWHG3DWHQWVDUHDFRPPHUFLDOVXFFHVVVDWLVI\DORQJIHOWFRPPHUFLDOQHHGDFKLHYHG

DQ\XQH[SHFWHGUHVXOWVZHUHVXEMHFWWRDQH[SUHVVLRQRIGLVEHOLHIE\H[SHUWVZHUHFRSLHGE\

RWKHUVRUHQMR\DQ\RWKHUREMHFWLYHLQGLFLDRIQRQREYLRXVQHVV

5(48(67)25352'8&7,21

        $OO'RFXPHQWVUHIHUULQJRUUHODWLQJWRWKHPDUNLQJRIDQ\SURGXFWVZLWKWKHQXPEHURI

WKH$VVHUWHG3DWHQWVDVWKHWHUP³PDUNLQJ´LVXVHGLQ86&

5(48(67)25352'8&7,21

        $OO'RFXPHQWV5HJDUGLQJWKHPDUNHWRUGHPDQGIRUWKHDOOHJHGLQYHQWLRQVFODLPHGLQWKH

$VVHUWHG3DWHQWVRU5HODWHG3DWHQWVRUWKHWHFKQRORJ\RIWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

,QFOXGLQJ

        D      PDUNHWVWXGLHVPDUNHWVXUYH\VFRPSHWLWLYHDQDO\VHVDQDO\VWUHSRUWVRUDQ\RWKHU
                'RFXPHQWSUHSDUHGE\3ODLQWLIIRUUHODWLQJWRPDUNHWH[SHFWDWLRQVDQGGLVFXVVLRQV
                RUGHVFULSWLRQRIWKHFRPSHWLWLYHHQYLURQPHQW

        E      IRUHFDVWVVDOHVPDUNHWSURMHFWLRQVEXVLQHVVSODQVRURWKHU'RFXPHQWVUHIOHFWLQJ
                3ODLQWLII¶VH[SHFWDWLRQV5HJDUGLQJWKHPDUNHWSRWHQWLDOIRUDQ\SURWRW\SHVGHYLFHV
                RUV\VWHPVWKDWDOOHJHGO\HPERG\DQ\FODLPRIWKH$VVHUWHG3DWHQWVDQG

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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 28 of 120 PageID #: 41
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        F     DQ\GHYLFHSURWRW\SHSK\VLFDOVDPSOHPRGHORUZRUNLQJPRGHOWKDWHPERGLHVRU
               RWKHUZLVHLQFRUSRUDWHVRUXVHVWKHVXEMHFWPDWWHUDOOHJHGO\GLVFORVHGRUFODLPHGLQ
               WKH$VVHUWHG3DWHQWV

5(48(67)25352'8&7,21

       $OO'RFXPHQWVDQG&RPPXQLFDWLRQV5HJDUGLQJDQ\OLFHQVHDJUHHPHQWRUDQ\RWKHU

DJUHHPHQWEHWZHHQ03(*/$//&DQG.RQLQNOLMNH3KLOLSV(OHFWURQLFV19

5(48(67)25352'8&7,21

       $OO'RFXPHQWVDQG&RPPXQLFDWLRQV5HJDUGLQJWKHFRQVLGHUDWLRQRIZKHWKHUWRGHVLJQDWH

DQGRUWKHGHVLJQDWLRQRUSRVVLEOHGHVLJQDWLRQRIRQHRUPRUHRIWKH$VVHUWHG3DWHQWVRUDQ\

UHODWHGSDWHQWVDVHVVHQWLDOWRDQ\VWDQGDUGLQFOXGLQJEXWQRWOLPLWHGWRWKH$GYDQFHG9LGHR

&RGLQJVWDQGDUG

5(48(67)25352'8&7,21

       $OO'RFXPHQWVHYDOXDWLQJWKHVWDQGDUGHVVHQWLDOLW\RIDQ\RIWKH$VVHUWHG3DWHQWVRUDQ\

UHODWHGSDWHQWVZKHWKHUDXWKRUHGE\<RX.RQLQNOLMNH3KLOLSV(OHFWURQLFV1903(*/$

//&DQLQGHSHQGHQWSDWHQWH[SHUWRUDQ\RWKHULQGLYLGXDORUHQWLW\

5(48(67)25352'8&7,21

       $OO&RPPXQLFDWLRQVEHWZHHQ<RXWKH,QWHUQDWLRQDO7HOHFRPPXQLFDWLRQ8QLRQWKH

,QWHUQDWLRQDO2UJDQL]DWLRQIRU6WDQGDUGL]DWLRQ.RQLQNOLMNH3KLOLSV(OHFWURQLFV1903(*/$

//&DQGRUDQ\RWKHULQGLYLGXDORUHQWLW\UHJDUGLQJWKH$GYDQFHG9LGHR&RGLQJVWDQGDUG

5(48(67)25352'8&7,21

       'RFXPHQWVVXIILFLHQWWRVKRZDOOUHODWLRQVKLSVEHWZHHQ8QLORF/LFHQVLQJDQGHDFKRIWKH

IROORZLQJHQWLWLHV8QLORF8QLORF/X[)RUWUHVV&UHGLW&RUS)RUWUHVV,QYHVWPHQW)RUWUHVV

&UHGLW&R//&&)8QLORF+ROGLQJV//&8QLORF/LFHQVLQJ8QLORF0DQDJHPHQW//&8QLORF

&RUSRUDWLRQ37</LPLWHG&)'%(=DQG&)'%(=//&




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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 29 of 120 PageID #: 42
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5(48(67)25352'8&7,21

       $OO'RFXPHQWVDQG&RPPXQLFDWLRQVEHWZHHQ\RXDQGDQ\RWKHUSDUW\LQFOXGLQJZLWKRXW

OLPLWDWLRQDQ\8QLORF(QWLW\RU)RUWUHVV(QWLW\UHODWLQJWRWKH8QLORF*RRJOHOLWLJDWLRQV

DQ\OLWLJDWLRQLQYROYLQJDQ\$VVHUWHG3DWHQWRU5HODWHG3DWHQWRUDQ\SRWHQWLDOSDWHQWOLWLJDWLRQ

DJDLQVW*RRJOH

5(48(67)25352'8&7,21

       $OO'RFXPHQWVFRQFHUQLQJWKHFXUHRUIDLOXUHWRFXUHRIDQ\(YHQWRI'HIDXOWGHIDXOWRU

EUHDFKE\8QLORF/X[RUDQ\RWKHU8QLORF(QWLW\RIDQ\DJUHHPHQWZLWK)RUWUHVV,QYHVWPHQW

)RUWUHVV&UHGLWRU)RUWUHVV&UHGLW&RUSIURPWRWKHSUHVHQW

5(48(67)25352'8&7,21

       'RFXPHQWVVXIILFLHQWWRVKRZWKHQDWXUHDQGH[WHQWRI8QLORF/LFHQVLQJ¶VRSHUDWLRQVLQ

7H[DVDQG&DOLIRUQLDLQFOXGLQJEXWQRWOLPLWHGWRDQ\RSHUDWLRQVLQWKH(DVWHUQ'LVWULFWRI7H[DV

DQGWKH1RUWKHUQ'LVWULFWRI&DOLIRUQLD

5(48(67)25352'8&7,21

       'RFXPHQWVVXIILFLHQWWRVKRZWKHORFDWLRQRI8QLORF/LFHQVLQJ¶VSULQFLSDOSODFHRI

EXVLQHVV

5(48(67)25352'8&7,21

       'RFXPHQWVVXIILFLHQWWRVKRZWKHORFDWLRQVRIDOOIDFLOLWLHVRI8QLORF/LFHQVLQJLQ7H[DV

DQG&DOLIRUQLDDQGDJHQHUDOGHVFULSWLRQRIWKHEXVLQHVVRSHUDWLRQVRIWKRVHIDFLOLWLHV

5(48(67)25352'8&7,21

       'RFXPHQWVVXIILFLHQWWRVKRZWKHQXPEHURIHPSOR\HHVRI8QLORF/LFHQVLQJLQWKH

(DVWHUQ'LVWULFWRI7H[DVDQGWKH1RUWKHUQ'LVWULFWRI&DOLIRUQLD




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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 30 of 120 PageID #: 43
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5(48(67)25352'8&7,21

       'RFXPHQWVVXIILFLHQWWRVKRZWKHQXPEHURIHPSOR\HHVRI8QLORF/LFHQVLQJLQWKH

1RUWKHUQ'LVWULFWRI&DOLIRUQLDWKDWKDYHNQRZOHGJHRIDQ\RIWKH$VVHUWHG3DWHQWVDQGRU

DFFXVHGWHFKQRORJ\LQWKH8QLORF*RRJOHOLWLJDWLRQV

5(48(67)25352'8&7,21

       'RFXPHQWVVXIILFLHQWWRVKRZWKHQXPEHURIHPSOR\HHVRI8QLORF/LFHQVLQJLQWKH

(DVWHUQ'LVWULFWRI7H[DVWKDWKDYHNQRZOHGJHRIDQ\RIWKH$VVHUWHG3DWHQWVDQGRUDFFXVHG

WHFKQRORJ\LQWKH8QLORF*RRJOHOLWLJDWLRQV

5(48(67)25352'8&7,21

       'RFXPHQWVVXIILFLHQWWRVKRZDQ\FRQQHFWLRQVWKDW8QLORF/LFHQVLQJKDVWR&DOLIRUQLD

LQFOXGLQJEXWQRWOLPLWHGWRDQ\FRQQHFWLRQVWRWKH1RUWKHUQ'LVWULFWRI&DOLIRUQLD

5(48(67)25352'8&7,21

       'RFXPHQWVVXIILFLHQWWRVKRZDQ\FRQQHFWLRQVWKDW8QLORF/LFHQVLQJKDVWR7H[DV

LQFOXGLQJEXWQRWOLPLWHGWRDQ\FRQQHFWLRQVWRWKH(DVWHUQ'LVWULFWRI7H[DV

5(48(67)25352'8&7,21

       $OO'RFXPHQWVVXIILFLHQWWRVKRZWKHERDUGVWUXFWXUHRI8QLORF/LFHQVLQJLQFOXGLQJEXW

QRWOLPLWHGWRERDUGPHPEHUVRIILFHUVDQGH[HFXWLYHV

5(48(67)25352'8&7,21

       $OO'RFXPHQWVUHODWLQJWRDQ\SOHDGLQJVGLVFRYHU\UHVSRQVHVH[SHUWUHSRUWVGLVFRYHU\

UHTXHVWVGHSRVLWLRQWUDQVFULSWVRURWKHUWHVWLPRQ\5HJDUGLQJWKH$VVHUWHG3DWHQWVRU5HODWHG

3DWHQWVRUDQ\5HODWHG3DWHQW3RUWIROLR

5(48(67)25352'8&7,21

       $OO'RFXPHQWVRU&RPPXQLFDWLRQVUHODWLQJWRDQ\DWWHPSWVZKHWKHUVXFFHVVIXORUQRWWR

FRPPHUFLDOL]HGHYHORSSURGXFWVWKDWHPERG\RURWKHUZLVHH[SORLWDQ\SXUSRUWHGLQYHQWLRQVRU

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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 31 of 120 PageID #: 44
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WHFKQRORJLHVGLVFORVHGE\WKH$VVHUWHG3DWHQWVE\DQ\SHUVRQLQFOXGLQJWKHGDWHVRIDQ\VXFK

DWWHPSWVWKHSHUVRQVLQYROYHGDQGDQ\UHODWHGGRFXPHQWV

5(48(67)25352'8&7,21

       $OO'RFXPHQWVUHODWLQJWRWKHSXUFKDVHRIDQ\RIWKH$VVHUWHG3DWHQWV5HODWHG3DWHQWVRU

DQ\5HODWHG3DWHQW3RUWIROLR

5(48(67)25352'8&7,21

       $OO'RFXPHQWVUHODWLQJWRWKHVDOHRUSRWHQWLDOVDOHRIDQ\RIWKH$VVHUWHG3DWHQWV

5HODWHG3DWHQWVRUDQ\5HODWHG3DWHQW3RUWIROLR

5(48(67)25352'8&7,21

       $OO&RPPXQLFDWLRQVZLWKDQ\1DPHG,QYHQWRUFRQFHUQLQJDQ\$VVHUWHG3DWHQWV5HODWHG

3DWHQWV5HODWHG3DWHQW3RUWIROLR*RRJOH$QGURLGRUDQ\FRQWHPSODWHGRUDFWXDOSDWHQW

OLWLJDWLRQDJDLQVW*RRJOH

5(48(67)25352'8&7,21

       $OODJUHHPHQWVZLWKDQ\)RUWUHVV(QWLW\

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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 32 of 120 PageID #: 45
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                                       '(326,7,21723,&6

723,&12

       7KH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

723,&12

       $Q\LQVSHFWLRQWHVWLQJHYDOXDWLRQRUDQDO\VLVFRQGXFWHGE\DQ\3HUVRQRIDQ\SURGXFW

RUVHUYLFHRI*RRJOHIRUDQ\SXUSRVHE\RURQEHKDOIRI3ODLQWLII,QFOXGLQJDOO'RFXPHQWV

VKRZLQJKRZDQ\SURGXFWRUVHUYLFHRI*RRJOHFRPSDUHVWRRQHRUPRUHFODLPVRIWKH$VVHUWHG

3DWHQWVRU5HODWHG3DWHQWV

723,&12

       $Q\FRQWHQWLRQE\3ODLQWLIIWKDWDQ\RIWKH$FFXVHG3URGXFWVOLWHUDOO\,QIULQJHDQ\FODLP

RIWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWVRU,QIULQJHDQ\FODLPRIWKH$VVHUWHG3DWHQWVRU

5HODWHG3DWHQWVXQGHUWKHGRFWULQHRIHTXLYDOHQWV

723,&12

       :KHQ<RXRUDQ\8QLORF(QWLW\ILUVWEHFDPHDZDUHRIWKHH[LVWHQFHRIHDFKRIWKH

$FFXVHG3URGXFWV,QFOXGLQJ'RFXPHQWV5HJDUGLQJ3ODLQWLII¶VLQLWLDOGLVFRYHU\RIWKHDOOHJHG

,QIULQJHPHQWE\HDFKRIWKH$FFXVHG3URGXFWV

723,&12

       $Q\GDPDJHRUKDUPDOOHJHGO\VXIIHUHGDVDUHVXOWRIWKHVDOHRIIHUIRUVDOHRUXVHRIDQ\

RI*RRJOH¶VSURGXFWVPHWKRGVRUV\VWHPV

723,&12

       $Q\FRPSXWDWLRQFDOFXODWLRQRUHVWLPDWLRQRIGDPDJHVORVWSURILWVRUUHDVRQDEOH

UR\DOWLHVFODLPHGLQWKLVRUDQ\DFWLRQLQYROYLQJWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV




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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 33 of 120 PageID #: 46
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723,&12

        7KLUG3DUWLHV¶'RFXPHQWVWKDWUHODWHWRWKH$VVHUWHG3DWHQWVRUDQ\SDWHQWLQLWVFKDLQRI

SULRULW\

723,&12

        $Q\LQWHUHVWWKDWDQ\7KLUG3DUW\KDVLQWKHRXWFRPHRI8QLORF*RRJOHOLWLJDWLRQV

723,&12

        7KHILOLQJRI8QLORF*RRJOHOLWLJDWLRQVRUDQ\RWKHUODZVXLWLQYROYLQJWKH$VVHUWHG

3DWHQWVRU5HODWHG3DWHQWV,QFOXGLQJ'RFXPHQWV5HJDUGLQJDQ\SXEOLFDQQRXQFHPHQWV

DGYHUWLVHPHQWVOHWWHUVWRWKHHGLWRUSUHVVUHOHDVHVRUFRUUHVSRQGHQFHRUWHOHSKRQHFRQIHUHQFHV

ZLWKFXVWRPHUVSURVSHFWLYHFXVWRPHUVGLVWULEXWRUVWUDGHMRXUQDOVSURIHVVLRQDOVRFLHWLHVRU

RWKHU3HUVRQV

723,&12

        &RPPXQLFDWLRQV5HJDUGLQJDQ\GLVFXVVLRQVZLWK7KLUG3DUWLHV5HJDUGLQJ,QIULQJHPHQW

RIDQ\RIWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWVE\*RRJOH

723,&12

        &RPSDULVRQVRIKRZDQ\SURGXFWRUVHUYLFHRIDQ\3HUVRQRUHQWLW\FRPSDUHVWRRQHRU

PRUHFODLPVRIWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV,QFOXGLQJDQ\FODLPFKDUWV5HJDUGLQJWKH

$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

723,&12

        7KHDOOHJHGFRQFHSWLRQDQ\DOOHJHGGLOLJHQFHIURPFRQFHSWLRQWRUHGXFWLRQWRSUDFWLFH

DQGDQ\DFWXDOUHGXFWLRQWRSUDFWLFHRIWKHDOOHJHGLQYHQWLRQVFODLPHGLQWKH$VVHUWHG3DWHQWVRU

5HODWHG3DWHQWV,QFOXGLQJLQYHQWRUQRWHVDQGDQ\&RPPXQLFDWLRQVZLWK7KLUG3DUWLHV5HJDUGLQJ

DQ\RIWKHDOOHJHGLQYHQWLRQVFODLPHGLQWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWVRUHDFK

SXUSRUWHGLQYHQWRU¶VLQGLYLGXDOFRQWULEXWLRQVWKHUHWR

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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 34 of 120 PageID #: 47
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723,&12

        7KHUHVHDUFKGHVLJQGHYHORSPHQWRUWHVWLQJRIWKHVXEMHFWPDWWHUGHVFULEHGRUFODLPHG

LQWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV,QFOXGLQJDOOKDQGZULWWHQRUW\SHGQRWHVODERUDWRU\

QRWHERRNVLQYHQWRUQRWHERRNVFRPSXWHUSURJUDPVFRGHRUGDWD

723,&12

        7KHILOLQJDQGSURVHFXWLRQRIWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV,QFOXGLQJDOOGUDIW

DQGILQDOYHUVLRQVRIVXFKDSSOLFDWLRQVRIILFHDFWLRQVGUDIWDQGILQDOYHUVLRQVRIUHVSRQVHVWR

RIILFHDFWLRQVDQGDOO&RPPXQLFDWLRQV5HJDUGLQJWKHILOLQJDQGSURVHFXWLRQRIVXFKSDWHQW

DSSOLFDWLRQV

723,&12

        3URVHFXWLQJDWWRUQH\V¶'RFXPHQWVUHODWLQJWRWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

723,&12

        $Q\DVVHUWLRQRUVXJJHVWLRQE\DQ\3HUVRQ,QFOXGLQJ3ODLQWLIIRUDQ\3HUVRQDFWLQJRQ

EHKDOIRI3ODLQWLIIWKDWDQRWKHU3HUVRQVKRXOGRUPXVWOLFHQVHWKH$VVHUWHG3DWHQWVRU5HODWHG

3DWHQWV

723,&12

        6RXUFHFRGHUHODWLQJWRWKHFRQFHSWLRQGHYHORSPHQWDQGUHGXFWLRQWRSUDFWLFHRIWKH

$VVHUWHG3DWHQWVRUUHODWLQJWRDQ\DOOHJHGHPERGLPHQWRIDQ\FODLPRIWKH$VVHUWHG3DWHQWV

723,&12

        $Q\SURSRVHGRUDFWXDOVHWWOHPHQWRIDQ\OLWLJDWLRQSURVSHFWLYHOLWLJDWLRQRUGLVSXWHV

LQYROYLQJWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

723,&12

        /LFHQVHVRURWKHUDJUHHPHQWV3ODLQWLIIKDVHQWHUHGLQWRZLWKDQ\3HUVRQRU7KLUG3DUWLHV

WKDWUHODWHWRULJKWVWRWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 35 of 120 PageID #: 48
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723,&12

        $Q\OLFHQVHRUDWWHPSWWROLFHQVHWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWVE\DQ\3HUVRQ

,QFOXGLQJ3ODLQWLIIRUDQ\3HUVRQDFWLQJRQEHKDOIRI3ODLQWLII

723,&12

        $Q\FRPSDUDEOHOLFHQVHVWKDWZRXOGDVVLVWLQGHWHUPLQLQJDUHDVRQDEOHUR\DOW\DSSOLFDEOH

WRWKH$VVHUWHG3DWHQWV

723,&12

        $Q\UR\DOW\UDWHIRUWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

723,&12

        $Q\HIIRUWVE\3ODLQWLIIRUDQ\3HUVRQRUHQWLW\DFWLQJRQEHKDOIRI3ODLQWLIIWROLFHQVH

VHOOPRQHWL]HRURWKHUZLVHJHQHUDWHUHYHQXHIURPWKH$VVHUWHG3DWHQWV,QFOXGLQJSUHVHQWDWLRQV

PDLOLQJVPHHWLQJPLQXWHVOLFHQVHQHJRWLDWLRQVVDOHVQHJRWLDWLRQVFODLPFKDUWVLQIULQJHPHQW

DQDO\VHVYDOLGLW\DQDO\VHVQRWLFHOHWWHUVFHDVHDQGGHVLVWOHWWHUVRIIHUVGUDIWOLFHQVH

DJUHHPHQWVDQGWHUPVKHHWV

723,&12

        7KHYDOXHWRFRQVXPHUVRIDQ\IHDWXUHVIXQFWLRQDOLWLHVRURWKHUWHFKQLFDOFRPSRQHQWV

DOOHJHGO\FRYHUHGE\WKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

723,&12

        $Q\DFWXDORUSURMHFWHGUR\DOWLHVIRUDQ\OLFHQVHRURWKHUDJUHHPHQWUHODWLQJWRWKH

$VVHUWHG3DWHQWVLQZKROHRULQSDUWDORQHRULQFRQMXQFWLRQZLWKDQ\RWKHUSDWHQWVRU

LQWHOOHFWXDOSURSHUW\

723,&12

        <RXUOLFHQVLQJSROLFLHV




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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 36 of 120 PageID #: 49
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723,&12

       $Q\DFFXVDWLRQE\DQ\3HUVRQRUHQWLW\WKDWDQRWKHU3HUVRQLV,QIULQJLQJRUKDV,QIULQJHG

WKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

723,&12

       $Q\SDVWRUSUHVHQWGHFLVLRQVE\DQ\3HUVRQ5HJDUGLQJZKHWKHUWRDVVHUWDJDLQVWDQ\

RWKHU3HUVRQWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV,QFOXGLQJDQ\DGYDQWDJHVRUGLVDGYDQWDJHV

RIVXFKDVVHUWLRQDQ\HYDOXDWLRQRIYDOXHRUULVNWR3ODLQWLIIRIVXFKDVVHUWLRQDQGDQ\OLNHOLKRRG

RIVXFFHVVRIVXFKDVVHUWLRQ

723,&12

       7KHGHFLVLRQWRDVVHUWWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWVLQDQ\OLWLJDWLRQ,QFOXGLQJ

DOOFRUUHVSRQGHQFHLQYROYLQJ<RXURU3ODLQWLII¶VVKDUHKROGHUVGLUHFWRUVRURIILFHUV5HJDUGLQJ

WKHGHFLVLRQWRILOHDQ\OLWLJDWLRQLQYROYLQJWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

723,&12

       7KHQDWXUHDQGH[WHQWRIDQ\DJUHHPHQW V EHWZHHQ8QLORF/LFHQVLQJDQGDQ\8QLORF

(QWLW\FRQFHUQLQJWKH8QLORF*RRJOHOLWLJDWLRQV

723,&12

       7KHRZQHUVKLSDVVLJQPHQWRUFRQYH\DQFHRIDQ\LQWHUHVWLQWKH$VVHUWHG3DWHQWVRU

5HODWHG3DWHQWV

723,&12

       ,GHQWLILFDWLRQRIHDFK3HUVRQKDYLQJDILQDQFLDORUSHFXQLDU\LQWHUHVWLQWKHRXWFRPHRI

8QLORF*RRJOHOLWLJDWLRQVDVZHOODVWKHW\SHQDWXUHSHUFHQWDJHDQGDPRXQWRIHDFK

3HUVRQ¶VLQWHUHVW




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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 37 of 120 PageID #: 50
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723,&12

        7KHVDOHVDQGUHYHQXHIRU8QLORFSURGXFWVRU7KLUG3DUW\SURGXFWVIRUZKLFK8QLORF

SURYLGHGWHFKQRORJ\WKDWDOOHJHGO\HPERG\DQ\FODLPRIWKH$VVHUWHG3DWHQWV

723,&12

        'LVFXVVLRQVZLWKDQGDPRQJ<RXURU3ODLQWLII¶VERDUGPHPEHUV,QFOXGLQJPLQXWHVRIWKH

%RDUGRI'LUHFWRUV5HJDUGLQJWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

723,&12

        6WDWHPHQWVEHWZHHQ<RXDQGDQ\RWKHU3HUVRQRUHQWLW\FRQFHUQLQJWKHSDWHQWDELOLW\

YDOLGLW\HQIRUFHDELOLW\VFRSHLQWHUSUHWDWLRQRUYDOXDWLRQRIWKH$VVHUWHG3DWHQWV

723,&12

        'RFXPHQWV5HJDUGLQJWKHDYDLODELOLW\RUXQDYDLODELOLW\RIDQ\DOOHJHGO\QRQLQIULQJLQJ

DOWHUQDWLYHVWRWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

723,&12

        $Q\SDWHQWDELOLW\RUVWDWHRIWKHDUWVHDUFKOLWHUDWXUHVHDUFKYDOLGLW\VHDUFKSDWHQWDELOLW\

RUVWDWHRIWKHDUWDQDO\VLVYDOLGLW\DQDO\VLVHQIRUFHDELOLW\DQDO\VLVXQHQIRUFHDELOLW\DQDO\VLV

LQYDOLGLW\DQDO\VLVRULQIULQJHPHQWDQDO\VLVUHODWHGWRWKH$VVHUWHG3DWHQWVRUDQ\5HODWHG

3DWHQWV

723,&12

        3ULRU$UW5HJDUGLQJWKHFODLPHGVXEMHFWPDWWHURIWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV

RUGLVFXVVLQJGLIIHUHQFHVRUVLPLODULWLHVEHWZHHQWKH3ULRU$UWDQGDQ\LQYHQWLRQGLVFORVHGRU

FODLPHGLQWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV,QFOXGLQJDFRS\RIHDFK'RFXPHQWLGHQWLILHG

XQGHU³5HIHUHQFHV&LWHG´LQWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV




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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 38 of 120 PageID #: 51
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723,&12

        &RPPXQLFDWLRQV5HJDUGLQJDQ\3ULRU$UWLQFOXGLQJ<RXUDZDUHQHVVRI3ULRU$UWWKH

GDWHDQGFLUFXPVWDQFHVLQZKLFK<RXILUVWJDLQHGDQ\DZDUHQHVVRI3ULRU$UWDQGDQ\HIIRUWE\

RURQEHKDOIRI<RXWRORFDWH3ULRU$UW

723,&12

        7KHPDQQHUVRUWHFKQLTXHVE\ZKLFKDQ\LQYHQWLRQWKDW<RXDUJXHLVGLVFORVHGE\DQ\

FODLPLQWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWVDOOHJHGO\LPSURYHGXSRQ3ULRU$UW

723,&12

        $Q\SXEOLFNQRZOHGJHXVHRUVDOHRIDQ\VXEMHFWPDWWHUFODLPHGE\WKH$VVHUWHG3DWHQWV

RU5HODWHG3DWHQWV

723,&12

        3ULRU$UWGLVFORVHGE\DQ\SRWHQWLDORUDFWXDOOLFHQVHHRIWKH$VVHUWHG3DWHQWV,QFOXGLQJ

LQSULRUOLWLJDWLRQVQHJRWLDWLRQVRUGLVFXVVLRQV

723,&12

        $Q\VDOHRIIHUWRVHOOXVHGLVFORVXUHLQYHQWLRQRUGHULYDWLRQRIWKHDOOHJHGLQYHQWLRQ

FODLPHGLQWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWVE\DQ\3HUVRQ

723,&12

        &RPPXQLFDWLRQVVHQWE\<RXWR*RRJOHWKURXJKDQ\PHDQVRI&RPPXQLFDWLRQ

723,&12

        $Q\FRQWHQWLRQWKDWWKHDOOHJHGLQYHQWLRQVFODLPHGLQWKH$VVHUWHG3DWHQWVDUHD

FRPPHUFLDOVXFFHVVVDWLVI\DORQJIHOWFRPPHUFLDOQHHGDFKLHYHGDQ\XQH[SHFWHGUHVXOWVZHUH

VXEMHFWWRDQH[SUHVVLRQRIGLVEHOLHIE\H[SHUWVZHUHFRSLHGE\RWKHUVRUHQMR\DQ\RWKHU

REMHFWLYHLQGLFLDRIQRQREYLRXVQHVV




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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 39 of 120 PageID #: 52
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723,&12

       7KHPDUNLQJRIDQ\SURGXFWVZLWKWKHQXPEHURIWKH$VVHUWHG3DWHQWVDVWKHWHUP

³PDUNLQJ´LVXVHGLQ86&

723,&12

       7KHPDUNHWRUGHPDQGIRUWKHDOOHJHGLQYHQWLRQVFODLPHGLQWKH$VVHUWHG3DWHQWVRU

5HODWHG3DWHQWVRUWKHWHFKQRORJ\RIWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWV,QFOXGLQJ

        D     PDUNHWVWXGLHVPDUNHWVXUYH\VFRPSHWLWLYHDQDO\VHVDQDO\VWUHSRUWVRUDQ\RWKHU
               'RFXPHQWSUHSDUHGE\3ODLQWLIIRUUHODWLQJWRPDUNHWH[SHFWDWLRQVDQGGLVFXVVLRQV
               RUGHVFULSWLRQRIWKHFRPSHWLWLYHHQYLURQPHQW

        E     IRUHFDVWVVDOHVPDUNHWSURMHFWLRQVEXVLQHVVSODQVRURWKHU'RFXPHQWVUHIOHFWLQJ
               3ODLQWLII¶VH[SHFWDWLRQV5HJDUGLQJWKHPDUNHWSRWHQWLDOIRUDQ\SURWRW\SHVGHYLFHV
               RUV\VWHPVWKDWDOOHJHGO\HPERG\DQ\FODLPRIWKH$VVHUWHG3DWHQWVDQG

        F     DQ\GHYLFHSURWRW\SHSK\VLFDOVDPSOHPRGHORUZRUNLQJPRGHOWKDWHPERGLHVRU
               RWKHUZLVHLQFRUSRUDWHVRUXVHVWKHVXEMHFWPDWWHUDOOHJHGO\GLVFORVHGRUFODLPHGLQ
               WKH$VVHUWHG3DWHQWV

723,&12

       &RPPXQLFDWLRQV5HJDUGLQJDQ\OLFHQVHDJUHHPHQWRUDQ\RWKHUDJUHHPHQWEHWZHHQ

03(*/$//&DQG.RQLQNOLMNH3KLOLSV(OHFWURQLFV19

723,&12

       &RPPXQLFDWLRQV5HJDUGLQJWKHFRQVLGHUDWLRQRIZKHWKHUWRGHVLJQDWHDQGRUWKH

GHVLJQDWLRQRUSRVVLEOHGHVLJQDWLRQRIRQHRUPRUHRIWKH$VVHUWHG3DWHQWVRUDQ\UHODWHG

SDWHQWVDVHVVHQWLDOWRDQ\VWDQGDUGLQFOXGLQJEXWQRWOLPLWHGWRWKH$GYDQFHG9LGHR&RGLQJ

VWDQGDUG

723,&12

       7KHVWDQGDUGHVVHQWLDOLW\RIDQ\RIWKH$VVHUWHG3DWHQWVRUDQ\UHODWHGSDWHQWVZKHWKHU

DXWKRUHGE\<RX.RQLQNOLMNH3KLOLSV(OHFWURQLFV1903(*/$//&DQLQGHSHQGHQWSDWHQW

H[SHUWRUDQ\RWKHULQGLYLGXDORUHQWLW\


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723,&12

        &RPPXQLFDWLRQVEHWZHHQ<RXWKH,QWHUQDWLRQDO7HOHFRPPXQLFDWLRQ8QLRQWKH

,QWHUQDWLRQDO2UJDQL]DWLRQIRU6WDQGDUGL]DWLRQ.RQLQNOLMNH3KLOLSV(OHFWURQLFV1903(*/$

//&DQGRUDQ\RWKHULQGLYLGXDORUHQWLW\UHJDUGLQJWKH$GYDQFHG9LGHR&RGLQJVWDQGDUG

723,&12

        $OOUHODWLRQVKLSVEHWZHHQ8QLORF/LFHQVLQJDQGHDFKRIWKHIROORZLQJHQWLWLHV8QLORF

8QLORF/X[)RUWUHVV&UHGLW&RUS)RUWUHVV,QYHVWPHQW)RUWUHVV&UHGLW&R//&&)

8QLORF+ROGLQJV//&8QLORF/LFHQVLQJ8QLORF0DQDJHPHQW//&8QLORF&RUSRUDWLRQ37<

/LPLWHG&)'%(=DQG&)'%(=//&

723,&12

        &RPPXQLFDWLRQVEHWZHHQ\RXDQGDQ\RWKHUSDUW\LQFOXGLQJZLWKRXWOLPLWDWLRQDQ\

8QLORF(QWLW\RU)RUWUHVV(QWLW\UHODWLQJWRWKH8QLORF*RRJOHOLWLJDWLRQVDQ\OLWLJDWLRQ

LQYROYLQJDQ\$VVHUWHG3DWHQWRU5HODWHG3DWHQWRUDQ\SRWHQWLDOSDWHQWOLWLJDWLRQDJDLQVW

*RRJOH

723,&12

        7KHFXUHRUIDLOXUHWRFXUHRIDQ\(YHQWRI'HIDXOWGHIDXOWRUEUHDFKE\8QLORF/X[RU

DQ\RWKHU8QLORF(QWLW\RIDQ\DJUHHPHQWZLWK)RUWUHVV,QYHVWPHQW)RUWUHVV&UHGLWRU)RUWUHVV

&UHGLW&RUSIURPWRWKHSUHVHQW

723,&12

        7KHQDWXUHDQGH[WHQWRI8QLORF/LFHQVLQJ¶VRSHUDWLRQVLQ7H[DVDQG&DOLIRUQLD

LQFOXGLQJEXWQRWOLPLWHGWRDQ\RSHUDWLRQVLQWKH(DVWHUQ'LVWULFWRI7H[DVDQGWKH1RUWKHUQ

'LVWULFWRI&DOLIRUQLD

723,&12

        7KHORFDWLRQRI8QLORF/LFHQVLQJ¶VSULQFLSDOSODFHRIEXVLQHVV

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723,&12

        7KHORFDWLRQVRIDOOIDFLOLWLHVRI8QLORF/LFHQVLQJLQ7H[DVDQG&DOLIRUQLDDQGDJHQHUDO

GHVFULSWLRQRIWKHEXVLQHVVRSHUDWLRQVRIWKRVHIDFLOLWLHV

723,&12

        7KHQXPEHURIHPSOR\HHVRI8QLORF/LFHQVLQJLQWKH(DVWHUQ'LVWULFWRI7H[DVDQGWKH

1RUWKHUQ'LVWULFWRI&DOLIRUQLD

723,&12

        7KHQXPEHURIHPSOR\HHVRI8QLORF/LFHQVLQJLQWKH1RUWKHUQ'LVWULFWRI&DOLIRUQLDWKDW

KDYHNQRZOHGJHRIDQ\RIWKH$VVHUWHG3DWHQWVDQGRUDFFXVHGWHFKQRORJ\LQWKH8QLORF

*RRJOHOLWLJDWLRQV

723,&12

        7KHQXPEHURIHPSOR\HHVRI8QLORF/LFHQVLQJLQWKH(DVWHUQ'LVWULFWRI7H[DVWKDWKDYH

NQRZOHGJHRIDQ\RIWKH$VVHUWHG3DWHQWVDQGRUDFFXVHGWHFKQRORJ\LQWKH8QLORF*RRJOH

OLWLJDWLRQV

723,&12

        $Q\FRQQHFWLRQVWKDW8QLORF/LFHQVLQJKDVWR&DOLIRUQLDLQFOXGLQJEXWQRWOLPLWHGWRDQ\

FRQQHFWLRQVWRWKH1RUWKHUQ'LVWULFWRI&DOLIRUQLD

723,&12

        $Q\FRQQHFWLRQVWKDW8QLORF/LFHQVLQJKDVWR7H[DVLQFOXGLQJEXWQRWOLPLWHGWRDQ\

FRQQHFWLRQVWRWKH(DVWHUQ'LVWULFWRI7H[DV

723,&12

        7KHERDUGVWUXFWXUHRI8QLORF/LFHQVLQJLQFOXGLQJEXWQRWOLPLWHGWRERDUGPHPEHUV

RIILFHUVDQGH[HFXWLYHV




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723,&12

        $Q\SOHDGLQJVGLVFRYHU\UHVSRQVHVH[SHUWUHSRUWVGLVFRYHU\UHTXHVWVGHSRVLWLRQ

WUDQVFULSWVRURWKHUWHVWLPRQ\5HJDUGLQJWKH$VVHUWHG3DWHQWVRU5HODWHG3DWHQWVRUDQ\5HODWHG

3DWHQW3RUWIROLR

723,&12

        &RPPXQLFDWLRQVUHODWLQJWRDQ\DWWHPSWVZKHWKHUVXFFHVVIXORUQRWWRFRPPHUFLDOL]H

GHYHORSSURGXFWVWKDWHPERG\RURWKHUZLVHH[SORLWDQ\SXUSRUWHGLQYHQWLRQVRUWHFKQRORJLHV

GLVFORVHGE\WKH$VVHUWHG3DWHQWVE\DQ\SHUVRQLQFOXGLQJWKHGDWHVRIDQ\VXFKDWWHPSWVWKH

SHUVRQVLQYROYHGDQGDQ\UHODWHGGRFXPHQWV

723,&12

        7KHSXUFKDVHRIDQ\RIWKH$VVHUWHG3DWHQWV5HODWHG3DWHQWVRUDQ\5HODWHG3DWHQW

3RUWIROLR

723,&12

        7KHVDOHRUSRWHQWLDOVDOHRIDQ\RIWKH$VVHUWHG3DWHQWV5HODWHG3DWHQWVRUDQ\5HODWHG

3DWHQW3RUWIROLR

723,&12

        &RPPXQLFDWLRQVZLWKDQ\1DPHG,QYHQWRUFRQFHUQLQJDQ\$VVHUWHG3DWHQWV5HODWHG

3DWHQWV5HODWHG3DWHQW3RUWIROLR*RRJOH$QGURLGRUDQ\FRQWHPSODWHGRUDFWXDOSDWHQW

OLWLJDWLRQDJDLQVW*RRJOH

723,&12

        $JUHHPHQWVZLWKDQ\)RUWUHVV(QWLW\




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Case1:20-mc-00065-RGA
Case 2:18-cv-00553-JRG Document
                       Document 47
                                1-1 Filed
                                     Filed07/24/19
                                           02/21/20 Page
                                                     Page143
                                                          of 21 PageID
                                                             of 120    #: 1809
                                                                    PageID #: 56



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

 UNILOC 2017, LLC                                  §
      Plaintiffs,                                  §
   v.                                              §    CIVIL ACTION NO. 2-18-cv-553 [JRG]
                                                   §
 GOOGLE LLC,                                       §
     Defendant.                                    §         JURY TRIAL DEMANDED
                                                   §

                                     PROTECTIVE ORDER
         WHEREAS, Plaintiff Uniloc 2017 LLC and Defendant Google LLC. (hereafter referred

to as “the Parties”) believe that certain information that is or will be encompassed by discovery

demands by the Parties involves the production or disclosure of trade secrets, confidential business

information, or other proprietary information;

         WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance

with Federal Rule of Civil Procedure 26(c):

         THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

    1.      Each Party may designate as confidential for protection under this Order, in whole or

            in part, any document, information or material that constitutes or includes, in whole or

            in part, confidential or proprietary information or trade secrets of the Party or a Third

            Party to whom the Party reasonably believes it owes an obligation of confidentiality

            with respect to such document, information or material (“Protected Material”).

            Protected Material shall be designated by the Party producing it by affixing a legend or

            stamp on such document, information or material as follows: “CONFIDENTIAL,”

            “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY

            CONFIDENTIAL – SOURCE CODE.” The appropriate designation shall be placed

{A07/07713/0077/W1612123.1 }
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Case1:20-mc-00065-RGA
Case 2:18-cv-00553-JRG Document
                       Document 47
                                1-1 Filed
                                     Filed07/24/19
                                           02/21/20 Page
                                                     Page244
                                                          of 21 PageID
                                                             of 120    #: 1810
                                                                    PageID #: 57



            clearly on each page of the Protected Material (except deposition and hearing

            transcripts and natively produced documents) for which such protection is sought. For

            deposition and hearing transcripts, the appropriate designation shall be placed on the

            cover page of the transcript (if not already present on the cover page of the transcript

            when received from the court reporter) by each attorney receiving a copy of the

            transcript after that attorney receives notice of the designation of some or all of that

            transcript is designated as containing Protected Material.      For natively produced

            Protected Material, the appropriate designation shall be placed in the filename of each

            such natively produced document.

    2.      Any document produced under Patent Rules 2-2, 3-2, and/or 3-4 before issuance of this

            Order with the designation “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

            ATTORNEYS’ EYES ONLY” shall receive the same treatment as if designated

            “RESTRICTED - ATTORNEYS’ EYES ONLY” under this Order, unless and until

            such document is redesignated to have a different classification under this Order.

    3.      With respect to documents, information or material designated “HIGHLY

            CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL

            – SOURCE CODE” (“DESIGNATED MATERIAL”), 1 subject to the provisions herein

            and unless otherwise stated, this Order governs, without limitation: (a) all documents,

            electronically stored information, and/or things as defined by the Federal Rules of Civil

            Procedure; (b) all pretrial, hearing or deposition testimony, or documents marked as



1
  The term DESIGNATED MATERIAL is used throughout this Protective Order to refer to the
class of materials designated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL –
ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE,”
individually and collectively.
{A07/07713/0077/W1612123.1 }
                                                                                                   2
Case1:20-mc-00065-RGA
Case 2:18-cv-00553-JRG Document
                       Document 47
                                1-1 Filed
                                     Filed07/24/19
                                           02/21/20 Page
                                                     Page345
                                                          of 21 PageID
                                                             of 120    #: 1811
                                                                    PageID #: 58



            exhibits or for identification in depositions and hearings; (c) pretrial pleadings, exhibits

            to pleadings and other court filings; (d) affidavits; and (e) stipulations. All copies,

            reproductions, extracts, digests and complete or partial summaries prepared from any

            DESIGNATED MATERIALS shall also be considered DESIGNATED MATERIAL

            and treated as such under this Order.

     4.     A designation of Protected Material (i.e., “CONFIDENTIAL,” “HIGHLY

            CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL

            – SOURCE CODE”) may be made at any time.                    Inadvertent or unintentional

            production of documents, information or material that has not been designated as

            DESIGNATED MATERIAL shall not be deemed a waiver in whole or in part of a

            claim for confidential treatment. Any party that inadvertently or unintentionally

            produces Protected Material without designating it as DESIGNATED MATERIAL

            may request destruction of that Protected Material by notifying the recipient(s), as soon

            as reasonably possible after the producing Party becomes aware of the inadvertent or

            unintentional disclosure, and providing replacement Protected Material that is properly

            designated. The recipient(s) shall then destroy all copies of the inadvertently or

            unintentionally produced Protected Materials and any documents, information or

            material derived from or based thereon.

     5.     “CONFIDENTIAL” documents, information and material may be disclosed only to the

            following persons, except upon receipt of the prior written consent of the designating

            party, upon order of the Court, or as set forth in paragraph 12 herein:

            (a) outside counsel of record in this Action 2 for the Parties;


2
    This Action means Case No. 2:18-cv-553-JRG
{A07/07713/0077/W1612123.1 }
                                                                                                      3
Case1:20-mc-00065-RGA
Case 2:18-cv-00553-JRG Document
                       Document 47
                                1-1 Filed
                                     Filed07/24/19
                                           02/21/20 Page
                                                     Page446
                                                          of 21 PageID
                                                             of 120    #: 1812
                                                                    PageID #: 59



            (b) outside counsel’s immediate paralegals and staff working at the direction of such
                outside counsel that are assigned to and reasonably necessary to assist such counsel
                in the litigation of this Action;

            (c) up to one in-house counsel for the Parties who is a member in good standing of at
                least one state bar and has responsibility for making decisions dealing directly with
                the litigation of this Action;

            (d) [intentionally left blank]

            (e) outside consultants or experts 3 (i.e., not existing employees or affiliates of a Party
                or an affiliate of a Party) retained for the purpose of this litigation, provided that:
                (1) such consultants or experts are not presently employed by the Parties hereto for
                purposes other than this Action 4; (2) before access is given, the consultant or expert
                has completed the Undertaking attached as Exhibit A hereto and the same is served
                upon the producing Party with a current curriculum vitae of the consultant or expert
                at least ten (10) days before access to the Protected Material is to be given to that
                consultant or Undertaking to object to and notify the receiving Party in writing that
                it objects to disclosure of Protected Material to the consultant or expert. The Parties
                agree to promptly confer and use good faith to resolve any such objection. If the
                Parties are unable to resolve any objection, the objecting Party may file a motion
                with the Court within fifteen (15) days of the notice, or within such other time as
                the Parties may agree, seeking a protective order with respect to the proposed
                disclosure. The objecting Party shall have the burden of proving the need for a
                protective order. No disclosure shall occur until all such objections are resolved by
                agreement or Court order 5;

3
   For any such person, the curriculum vitae shall identify his/her (i) current employer(s), (ii) each
person or entity from whom s/he has received compensation or funding for work in his or her areas
of expertise or to whom the s/he has provided professional services, including in connection with
a litigation, at any time during the preceding five years; (iii) (by name and number of the case,
filing data, and location of court) any litigation in connection with which s/he has offered expert
testimony, including through a declaration, report, or testimony at a deposition or trial, during the
preceding five years. If such consultant or expert believes any of this information is subject to a
confidentiality obligation to a third-party, then the s/he should provide whatever information can
be disclosed without violating any confidentiality agreements, and the Party seeking to disclose
Protected Material to the consultant or expert shall be available to meet and confer with the
designating Party regarding any such engagement.
4
  For avoidance of doubt, an independent expert or consultant retained (as opposed to employed)
by a Party on another litigation would not be precluded under this section.
5  A party who has not previously objected to disclosure of Protected Material to an expert or
whose objection has been resolved with respect to previously produced Protected Material shall
not be precluded from raising an objection to an expert at a later time with respect to Protected
Material that is produced after the time for objecting to such expert has expired or if new
information about that expert is disclosed or discovered.
{A07/07713/0077/W1612123.1 }
                                                                                                     4
Case1:20-mc-00065-RGA
Case 2:18-cv-00553-JRG Document
                       Document 47
                                1-1 Filed
                                     Filed07/24/19
                                           02/21/20 Page
                                                     Page547
                                                          of 21 PageID
                                                             of 120    #: 1813
                                                                    PageID #: 60




         (f)      independent litigation support services, including persons working for or as court
                  reporters, graphics or design services, jury or trial consulting services, and
                  photocopy, document imaging, and database services retained by counsel and
                  reasonably necessary to assist counsel with the litigation of this Action; and

         (g)      the Court and its personnel.

    6.         A Party shall designate documents, information or material as “CONFIDENTIAL”

               only upon a good faith belief that the documents, information or material contains

               confidential or proprietary information or trade secrets of the Party or a Third Party to

               whom the Party reasonably believes it owes an obligation of confidentiality with

               respect to such documents, information or material.

    7.         Documents, information or material produced in this Action, including but not limited

               to Protected Material designated as DESIGNATED MATERIAL, and the knowledge

               of the existence of such Protected Material (i) shall be used only for prosecuting,

               defending, or attempting to settle this Action, (ii) shall not be used for any purpose, in

               connection with any other legal or administrative proceeding, including but not limited

               to any proceeding at the U.S. Patent and Trademark Office (or any similar agency of a

               foreign government), or directly or indirectly for any other purpose whatsoever and

               (iii) shall not be disclosed to any person who is not entitled to receive such Protected

               Materials as herein provided. All produced Protected Material shall be carefully

               maintained so as to preclude access by persons who are not entitled to receive such

               Protected Materials, and any person or entity who obtains access to DESIGNATED

               MATERIAL or the contents thereof pursuant to this Order shall not make any copies,

               duplicates, extracts, summaries or descriptions of such DESIGNATED MATERIAL

               or any portion thereof except as may be reasonably necessary in the litigation of this


{A07/07713/0077/W1612123.1 }
                                                                                                       5
Case1:20-mc-00065-RGA
Case 2:18-cv-00553-JRG Document
                       Document 47
                                1-1 Filed
                                     Filed07/24/19
                                           02/21/20 Page
                                                     Page648
                                                          of 21 PageID
                                                             of 120    #: 1814
                                                                    PageID #: 61



            Action. Any such copies, duplicates, extracts, summaries or descriptions shall be

            classified DESIGNATED MATERIALS and subject to all of the terms and conditions

            of this Order.

    8.      To the extent a producing Party believes that certain Protected Material qualifying to

            be designated CONFIDENTIAL is so sensitive that its dissemination deserves even

            further limitation, the producing Party may designate such Protected Material

            “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or to the extent such

            Protected Material includes computer source code (i.e., a text listing of computer

            instructions, commands and data definitions expressed in a form suitable for input to

            an assembler, compiler, or other translator) and/or live data (that is, data as it exists

            residing in a database or databases) and/or live data (that is, data as it exists residing in

            a database or databases), the producing Party may designate such Protected Material as

            “HIGHLY CONFIDENTIAL – SOURCE CODE” (“Source Code Material”).

    9.      For Protected Material designated HIGHLY CONFIDENTIAL – ATTORNEYS’

            EYES ONLY, access to, and disclosure of, such Protected Material shall be limited to

            individuals listed in paragraphs 5(a-b) and (e-g).

    10.     For Protected Material designated HIGHLY CONFIDENTIAL – SOURCE CODE,

            the following additional restrictions apply:

            (a) Access to a Party’s Source Code Material shall be provided only on “stand-alone”
                computer(s) (that is, the computer may not be linked to any network, including a
                local area network (“LAN”, an intranet or the Internet) and a display screen or
                monitor of a size of at least seventeen inches in a secured locked room. The stand-
                alone computer(s) may only be connected to (i) a printer, or (ii) a device capable
                of temporarily storing electronic copies solely for the limited purposes permitted
                pursuant to paragraphs 10 (i and l) below. The stand-alone computers shall, at the
                receiving party's request, include reasonable analysis tools for the type of Source
                Code Material. The receiving party shall be responsible for providing the tools or
                licenses to the tools that it wishes to use so that the producing Party may install
{A07/07713/0077/W1612123.1 }
                                                                                                       6
Case1:20-mc-00065-RGA
Case 2:18-cv-00553-JRG Document
                       Document 47
                                1-1 Filed
                                     Filed07/24/19
                                           02/21/20 Page
                                                     Page749
                                                          of 21 PageID
                                                             of 120    #: 1815
                                                                    PageID #: 62



                 such tools on the stand-alone computers. Additionally, except as provided in
                 paragraph 10(l) below, the stand-alone computer(s) may only be located at the
                 offices of the producing Party’s outside counsel. The stand-alone computer(s)
                 shall have disk encryption and be password protected. Use or possession of any
                 input/output device (e.g., USB memory stick, mobile phone or tablet, camera or
                 any camera-enabled device, CD, floppy disk, portable hard drive, laptop, or any
                 device that can access the Internet or any other network or external system, etc.) is
                 prohibited while accessing the computer containing the source code. All persons
                 entering the locked room containing the stand-alone computer(s) must agree to
                 submit to reasonable security measures to ensure they are not carrying any
                 prohibited items before they will be given access to the stand-alone computer(s).
                 The producing Party may periodically “check in” on the activities of the receiving
                 Party’s representatives during any stand-alone computer review and may visually
                 monitor the activities of the receiving Party’s representatives from outside the
                 room in which the stand-alone computer(s) is located, but only to ensure that no
                 unauthorized electronic records of the Source Code Material and no information
                 concerning the Source Code Material are being created or transmitted in any way.

            (b) The Receiving Party shall make reasonable efforts to restrict its requests for such
                access to the stand-alone computer(s) to normal business hours, which for purposes
                of this paragraph shall be 8:00 a.m. through 6:00 p.m. The Parties agree to
                cooperate in good faith regarding accommodating review of a Party’s HIGHLY
                CONFIDENTIAL SOURCE CODE;

            (c) The Producing Party shall provide the Receiving Party with information explaining
                how to start, log on to, and operate the stand-alone computer(s) in order to access
                the produced Source Code Material on the stand-alone computer(s);

            (d) The Producing Party will produce Source Code Material in computer searchable
                format on the stand-alone computer(s) as described above;

            (e) Access to Source Code Material shall be limited to outside counsel and up to three
                (3) outside consultants or experts 6 (i.e., not existing employees or affiliates of a
                Party or an affiliate of a Party) retained for the purpose of this litigation and
                approved to access such Protected Materials pursuant to paragraph 5 (e) above.
                A Receiving Party may if necessary include excerpts of Source Code Material in a
                pleading, exhibit, expert report, discovery document, deposition transcript, other
                Court document, provided that any such documents are appropriately marked as
                containing Source Code Material under this Order, restricted to those who are
                entitled to have access to them as specified herein, and, if filed with the Court, filed
                under seal in accordance with the Court’s rules, procedures and orders;


6
 For the purposes of this paragraph, an outside consultant or expert does not include the outside
consultant’s or expert’s direct reports and other support personnel.
{A07/07713/0077/W1612123.1 }
                                                                                                       7
Case1:20-mc-00065-RGA
Case 2:18-cv-00553-JRG Document
                       Document 47
                                1-1 Filed
                                     Filed07/24/19
                                           02/21/20 Page
                                                     Page850
                                                          of 21 PageID
                                                             of 120    #: 1816
                                                                    PageID #: 63



            (f) To the extent portions of Source Code Material are quoted in an electronic copy or
                image of a document which, pursuant to the Court’s rules, procedures, or order,
                must be filed or served electronically (“Source Code Document”), either (1) the
                entire Source Code Document will be stamped and treated as HIGHLY
                CONFIDENTIAL – SOURCE CODE or (2) those pages containing quoted Source
                Code Material will be separately stamped and treated as HIGHLY
                CONFIDENTIAL – SOURCE CODE;

            (g) Except as set forth in paragraph 10(l) below, no electronic copies of Source Code
                Material shall be made without prior written consent of the Producing Party, except
                as necessary to create documents which, pursuant to the Court’s rules, procedures
                and order, must be filed or served electronically;

            (h) The receiving Party shall only include such excerpts as are reasonably necessary
                for the purposes for which such part of the Source Code Material is used. Images
                or copies of Source Code Material shall not be included in correspondence between
                the parties (references to production numbers shall be used instead) and shall be
                omitted from pleadings and other papers except to the extent permitted herein. The
                receiving Party may create an electronic image of a selected portion of the Source
                Code Material only when the electronic file containing such image has been
                encrypted using commercially reasonable encryption software including password
                protection. The communication and/or disclosure of electronic files containing
                any portion of Source Code Material shall at all times be limited to individuals who
                are authorized to see Source Code Material under the provisions of this Protective
                Order. Additionally, all electronic copies must be labeled “HIGHLY
                CONFIDENTIAL – SOURCE CODE.” If Source Code Documents are filed with
                the Court, they must be filed under seal in accordance with the Court’s rules,
                procedures and orders

            (i) The Receiving Party may request a reasonable number of pages of Source Code to
                be printed by the Producing Party (“Source Code Printouts”), but no more than 50
                consecutive pages, and no more than an aggregate total of 750 pages and only when
                reasonably necessary to prepare court filings or pleadings or other papers
                (including a testifying expert’s expert report) and only to the extent necessary for
                use in this action. To the extent Receiving Party requires an aggregate total of more
                than 750 pages of source code, the Receiving Party shall make such request, and
                the Parties shall meet and confer in an effort to reach an agreement to produce an
                agreed number of additional pages. The Producing Party shall Bates number,
                copy, and label “HIGHLY CONFIDENTIAL – SOURCE CODE” any pages
                requested by the Receiving Party;

            (j) Should such printouts or photocopies be transferred back to electronic media, such
                media shall be labeled “HIGHLY CONFIDENTIAL – SOURCE CODE” and shall
                continue to be treated as such;


{A07/07713/0077/W1612123.1 }
                                                                                                    8
Case1:20-mc-00065-RGA
Case 2:18-cv-00553-JRG Document
                       Document 47
                                1-1 Filed
                                     Filed07/24/19
                                           02/21/20 Page
                                                     Page951
                                                          of 21 PageID
                                                             of 120    #: 1817
                                                                    PageID #: 64



            (k) If the Receiving Party’s outside counsel, consultants, or experts obtain Source
                Code Printouts, the Receiving Party shall ensure that such outside counsel,
                consultants, or experts keep the Source Code Printouts under their direct control in
                a secured locked area in the offices of such outside counsel, consultants, or expert.
                The Receiving Party may also temporarily keep the Source Code Printouts at: (i)
                the Court for any proceedings(s) relating to the Source Code Material, for the dates
                associated with the proceeding(s); (ii) the sites where any deposition(s) relating to
                the Source Code Material are taken, for the dates associated with the deposition(s);
                and (iii) any intermediate location reasonably necessary to transport the Source
                Code Printouts to a Court proceeding or deposition), provided that the printouts or
                photocopies are kept in a secure manner that ensures access is limited to the
                persons authorized under this Order.

            (l) A Producing Party’s HIGHLY CONFIDENTIAL – SOURCE CODE may only be
                transported by the Receiving Party by a person authorized under paragraph 10(e)
                above to another person authorized under paragraph 10(e) above, on paper or
                removable electronic media (e.g., a DVD, CD-ROM, or flash memory “stick”) via
                hand carry. Source Code Material may not be transported or transmitted
                electronically over a network of any kind, including a LAN, an intranet, or the
                Internet. Source Code Material may only be transported electronically for the
                purpose of Court proceeding(s) or depositions as set forth in paragraph 10(h) above
                and is at all times subject to the transport restrictions set forth herein. But, for those
                purposes only, the Source Code Materials may be loaded onto a stand-alone
                computer.

            (m)The Receiving party’s outside counsel and/or expert shall be entitled to take notes
               relating to the source code but may not copy any portion of the source code into
               the notes. No copies of all or any portion of the source code may leave the room
               in which the source code is inspected except as otherwise provided herein. Further,
               no other written or electronic record of the source code is permitted except as
               otherwise provided herein. No notes shall be made or stored on the inspection
               computer, or left behind at the site where the inspection computer is made
               available, and any such notes shall be deleted or destroyed by the Producing Party,
               without reviewing the substance of the notes, upon discovery. Notwithstanding
               the foregoing, any such notes shall be stamped and treated as “HIGHLY
               CONFIDENTIAL – SOURCE CODE.” The log of such notes need not be
               produced to any other party absent Court Order (e.g. potentially in connection with
               a Protective Order violation motion).

            (n) A list of names of persons who will review Source Code Material on the stand-
                alone computer(s) will be provided to the Producing Party in conjunction with any
                written (including email) notice requesting inspection. Prior to the first inspection
                of any Source Code Material on the stand-alone computer(s), the Receiving Party
                shall provide five (5) business days’ notice to schedule the initial inspection with
                the Producing Party. The Receiving Party shall provide three (3) business days’
                notice in advance of scheduling any additional inspections. Such notice shall
{A07/07713/0077/W1612123.1 }
                                                                                                         9
Case 2:18-cv-00553-JRG
     1:20-mc-00065-RGA Document
                        Document47
                                 1-1Filed 07/24/19
                                      Filed 02/21/20Page
                                                     Page1052
                                                            ofof
                                                              21120
                                                                 PageID #: 1818
                                                                    PageID #: 65



                 include the names and titles for every individual from the Receiving Party who
                 will attend the inspection. The Producing Party may maintain a daily log of the
                 names of persons who enter the locked room to view the source code and when
                 they enter and depart;

            (o) The Receiving Party’s outside counsel shall maintain a log of all copies of the
                Source Code Printouts (received from a Producing Party) that are delivered by the
                receiving Party to any person and a log of any electronic images of Source Code
                Material. The log shall include the names of the recipients and reviewers of copies
                and locations where the copies are stored. Upon request by the Producing Party,
                the Receiving Party shall provide reasonable assurances and/or descriptions of the
                security measures employed by the Receiving Party and/or person that receives a
                copy of any portion of the source code; and

            (p) All copies of any portion of the Source Code Printouts in whatever form shall be
                securely destroyed if they are no longer in use. Copies of Source Code Printouts
                that are marked as deposition exhibits shall not be provided to the Court Reporter
                or attached to deposition transcripts; rather, the deposition record will identify the
                exhibit by its production numbers.

    11.     Any attorney representing Plaintiffs, whether in-house or outside counsel, and any

            person associated with Plaintiffs and permitted to receive the other Party’s Protected

            Material that is designated “HIGHLY CONFIDENTIAL – ATTORNEY’S EYES

            ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” and directed to technical

            information relevant to the case, but excluding financial data or non-technical business

            information (collectively, “HIGHLY SENSITIVE TECHNICAL MATERIAL”), who

            obtains, receives, or otherwise learns, in whole or in part, the other Party’s HIGHLY

            SENSITIVE TECHNICAL MATERIAL, under this Order, shall not prepare,

            prosecute, supervise, or assist in the preparation or prosecution of any patent

            application pertaining to the field of invention of the patents-in-suit on behalf of the

            Receiving Party or its acquirer, successor, predecessor, or other affiliate during the

            pendency of this Action and for one year after its conclusion, including any appeals, or

            two years after such person last reviewed the HIGHLY SENSITIVE TECHNICAL

{A07/07713/0077/W1612123.1 }
                                                                                                   10
Case 2:18-cv-00553-JRG
     1:20-mc-00065-RGA Document
                        Document47
                                 1-1Filed 07/24/19
                                      Filed 02/21/20Page
                                                     Page1153
                                                            ofof
                                                              21120
                                                                 PageID #: 1819
                                                                    PageID #: 66



            MATERIAL, whichever is earlier. These prohibitions shall not preclude Plaintiff’s

            litigation counsel from participating in any inter partes review, CBM, or post-grant

            review proceedings, provided there is no attempt to amend any claims in the

            proceedings by any counsel for patent owner during the course of the proceedings. To

            ensure compliance with the purpose of this provision, Plaintiffs shall create an “Ethical

            Wall” between those persons with access to HIGHLY SENSITIVE TECHNICAL

            MATERIAL, and any individuals who, on behalf of the Party or its acquirer, successor,

            predecessor, or other affiliate, prepare, prosecute, supervise, or assist in the preparation

            or prosecution of any patent application pertaining to the accused functionality.

    12.     [OMITTED]

    13.     Disclosure of Protected Material shall be subject to all applicable laws and regulations

            relating to the export of technical data contained in such Protected Material, including

            the release of such technical data to foreign persons or nationals in the United States or

            elsewhere. Each party receiving Protected Material shall comply with all applicable

            export control statutes and regulations. No Protected Material may leave the territorial

            boundaries of the United States of America. Without limitation, this prohibition

            extends to Protected Material (including copies) in physical and electronic form. The

            viewing of Protected Material through electronic means outside the territorial limits of

            the United States of America is similarly prohibited. Notwithstanding this prohibition,

            Protected Material, exclusive of material designated HIGHLY CONFIDENTIAL -

            SOURCE CODE, and to the extent otherwise permitted by law, may be taken outside

            the territorial limits of the United States if it is reasonably necessary for a deposition

            taken in a foreign country. The restrictions contained within this paragraph may be


{A07/07713/0077/W1612123.1 }
                                                                                                     11
Case 2:18-cv-00553-JRG
     1:20-mc-00065-RGA Document
                        Document47
                                 1-1Filed 07/24/19
                                      Filed 02/21/20Page
                                                     Page1254
                                                            ofof
                                                              21120
                                                                 PageID #: 1820
                                                                    PageID #: 67



            amended through the consent of the producing Party to the extent that such agreed to

            procedures conform with applicable export control laws and regulations or by leave of

            court after good cause has been shown.

    14.     Nothing in this Order shall require production of documents, information or other

            material that a Party contends is protected from disclosure by the attorney-client

            privilege, the work product doctrine, or other privilege, doctrine, or immunity.

            Pursuant to Federal Rule of Evidence 502(d) and (e), if documents, information or other

            material subject to a claim of attorney-client privilege, work product doctrine, or other

            privilege, doctrine, or immunity are produced, such production shall in no way

            prejudice or otherwise constitute a waiver of, or estoppel as to, any such privilege,

            doctrine, or immunity. Any Party that produces documents, information or other

            material it reasonably believes are protected under the attorney-client privilege, work

            product doctrine, or other privilege, doctrine, or immunity may obtain the return of

            such documents, information or other material by notifying the recipient(s) and

            providing a privilege log for the produced documents, information or other material.

            The recipient(s) shall gather and return all copies of such documents, information or

            other material to the producing Party, except for any pages containing privileged or

            otherwise protected markings by the recipient(s), which pages shall instead be

            destroyed and certified as such to the producing Party.

    15.     There shall be no disclosure of any DESIGNATED MATERIAL by any person

            authorized to have access thereto to any person who is not authorized for such access

            under this Order. The Parties are hereby ORDERED to safeguard all such documents,

            information and material to protect against disclosure to any unauthorized persons or


{A07/07713/0077/W1612123.1 }
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Case 2:18-cv-00553-JRG
     1:20-mc-00065-RGA Document
                        Document47
                                 1-1Filed 07/24/19
                                      Filed 02/21/20Page
                                                     Page1355
                                                            ofof
                                                              21120
                                                                 PageID #: 1821
                                                                    PageID #: 68



            entities.

    16.     Nothing contained herein shall be construed to prejudice any Party’s right to use any

            DESIGNATED MATERIAL in taking testimony at any deposition or hearing

            provided that the DESIGNATED MATERIAL is only disclosed to a person(s) who is:

            (i) eligible to have access to the DESIGNATED MATERIAL by virtue of his or her

            employment with the designating party, (ii) identified in the DESIGNATED

            MATERIAL as an author, addressee, or copy recipient of such information, (iii)

            although not identified as an author, addressee, or copy recipient of such

            DESIGNATED MATERIAL, has, in the ordinary course of business, seen such

            DESIGNATED MATERIAL, (iv) court reporters and videographers; (v) the Court; or

            (vi) other persons entitled hereunder to access to DESIGNATED MATERIAL.

            DESIGNATED MATERIAL shall not be disclosed to any other persons unless prior

            authorization is obtained from counsel representing the producing Party or from the

            Court. 7 Parties shall give the other Parties reasonable notice (a minimum of two

            business days) if they reasonably expect a deposition, hearing, or other proceeding to

            include Protected Material so that the other Parties can ensure that only authorized

            individuals are present at those proceedings. Subject to any challenge to a particular

            designation under paragraph 20, the Parties will not oppose any reasonable request by

            the Designating Party that the courtroom be sealed, if allowed by the Court, during the


7  In the event a non-Party witness is authorized to receive Protected Material that is to be used
during his/her deposition but is represented by an attorney not authorized under this Order to
receive such Protected Material, the attorney must provide prior to commencement of the
deposition an executed Undertaking attached as Exhibit A. In the event such attorney declines to
sign the Undertaking prior to the examination, the Parties, by their attorneys, shall jointly seek a
protective order from the Court prohibiting the attorney from disclosing Protected Material in order
for the deposition to proceed.
{A07/07713/0077/W1612123.1 }
                                                                                                 13
Case 2:18-cv-00553-JRG
     1:20-mc-00065-RGA Document
                        Document47
                                 1-1Filed 07/24/19
                                      Filed 02/21/20Page
                                                     Page1456
                                                            ofof
                                                              21120
                                                                 PageID #: 1822
                                                                    PageID #: 69



            presentation of any testimony, evidence, or argument relating to or involving the use

            of any Protected Material.

    17.     Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

            deposition or hearing transcript, designate the deposition or hearing transcript or any

            portion     thereof   as   “CONFIDENTIAL,”         “HIGHLY        CONFIDENTIAL          –

            ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE”

            pursuant to this Order. Access to the deposition or hearing transcript so designated

            shall be limited in accordance with the terms of this Order. Until expiration of the 30-

            day period, the entire deposition or hearing transcript shall be treated as “HIGHLY

            CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL

            SOURCE CODE”.

    18.     Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal

            and shall remain under seal until further order of the Court. The filing party shall be

            responsible for informing the Clerk of the Court that the filing should be sealed and

            for placing the legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE

            ORDER” above the caption and conspicuously on each page of the filing. Exhibits to

            a filing shall conform to the labeling requirements set forth in this Order. If a pretrial

            pleading filed with the Court, or an exhibit thereto, discloses or relies on confidential

            documents, information or material, such confidential portions shall be redacted to the

            extent necessary and the pleading or exhibit filed publicly with the Court.

    19.     The Order applies to pretrial discovery. Nothing in this Order shall be deemed to

            prevent the Parties from introducing any DESIGNATED MATERIAL into evidence

            at the trial of this Action, or from using any information contained in DESIGNATED

{A07/07713/0077/W1612123.1 }
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Case 2:18-cv-00553-JRG
     1:20-mc-00065-RGA Document
                        Document47
                                 1-1Filed 07/24/19
                                      Filed 02/21/20Page
                                                     Page1557
                                                            ofof
                                                              21120
                                                                 PageID #: 1823
                                                                    PageID #: 70



            MATERIAL at the trial of this Action, subject to any pretrial order issued by this

            Court. Subject to any challenges under Section 20, the Parties will not oppose any

            reasonable request by the Producing Party that the courtroom be sealed, if allowed by

            the Court, during the presentation of any testimony, evidence, or argument relating to

            or involving the use of any Protected Material.

    20.     A Party may request in writing to the other Party that the designation given to any

            DESIGNATED MATERIAL be modified or withdrawn. If the designating Party does

            not agree to redesignation within ten (10) days of receipt of the written request, the

            requesting Party may apply to the Court for relief. Upon any such application to the

            Court, the burden shall be on the designating Party to show why its classification is

            proper. Such application shall be treated procedurally as a motion to compel pursuant

            to Federal Rules of Civil Procedure 37, subject to the Rule’s provisions relating to

            sanctions. In making such application, the requirements of the Federal Rules of Civil

            Procedure and the Local Rules of the Court shall be met. Pending the Court’s

            determination of the application, the designation of the designating Party shall be

            maintained.

    21.     Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed

            in accordance with the terms of this Order shall be advised by counsel of the terms of

            this Order, shall be informed that he or she is subject to the terms and conditions of

            this Order, and shall sign an acknowledgment that he or she has received a copy of,

            has read, and has agreed to be bound by this Order. A copy of the acknowledgment

            form is attached as Appendix A.

    22.     To the extent that any discovery is taken of persons who are not Parties to this Action

{A07/07713/0077/W1612123.1 }
                                                                                                15
Case 2:18-cv-00553-JRG
     1:20-mc-00065-RGA Document
                        Document47
                                 1-1Filed 07/24/19
                                      Filed 02/21/20Page
                                                     Page1658
                                                            ofof
                                                              21120
                                                                 PageID #: 1824
                                                                    PageID #: 71



            (“Third Parties”) and in the event that such Third Parties contend the discovery sought

            involves trade secrets, confidential business information, or other proprietary

            information, then such Third Parties may agree to be bound by this Order.

    23.     To the extent that discovery or testimony is taken of Third Parties, the Third Parties or

            any Party may designate as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL –

            ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE”

            any documents, information or other material, in whole or in part, produced or given

            by such Third Parties. The Third Parties and any Party shall have ten (10) days after

            production of such documents, information or other materials to make such a

            designation. Until that time period lapses or until such a designation has been made,

            whichever occurs sooner, all documents, information or other material so produced or

            given shall be treated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

            ONLY” in accordance with this Order.            Where a Third Party designates any

            documents, information or other material as provided herein, experts previously

            disclosed and approved hereunder prior to said Third Party’s production of any

            Protected Material need not be disclosed to said Third Party. Subsequently disclosed

            experts need not be disclosed to said Third Party before that Third Party’s Protected

            Material may be disclosed thereto.

    24.     If a Party is served with a subpoena issued by a court, arbitral, administrative, or

            legislative body, or with a court order issued in other litigation that compels disclosure

            of any information or items designated in this action as “CONFIDENTIAL” or

            “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY

            CONFIDENTIAL – SOURCE CODE” that Party must:

{A07/07713/0077/W1612123.1 }
                                                                                                   16
Case 2:18-cv-00553-JRG
     1:20-mc-00065-RGA Document
                        Document47
                                 1-1Filed 07/24/19
                                      Filed 02/21/20Page
                                                     Page1759
                                                            ofof
                                                              21120
                                                                 PageID #: 1825
                                                                    PageID #: 72



                 (a) promptly notify in writing the Designating Party. Such notification shall

            include a copy of the subpoena or court order;

                 (b) promptly notify in writing the person who caused the subpoena or order to issue

            in the other litigation that some or all of the material covered by the subpoena or order

            is subject to this Protective Order. Such notification shall include a copy of this

            Protective Order; and

                 (c) cooperate with respect to all reasonable procedures sought to be pursued by the

            designating        Party   whose     Protected     Material     may      be    affected.

            If the Designating Party timely seeks a protective order, the Party served with the

            subpoena or court order shall not produce any information designated in this action as

            “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

            ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” before a determination

            by the court from which the subpoena or order issued, unless the Party has obtained

            the designating Party’s permission. The Designating Party shall bear the burden and

            expense of seeking protection in that court of its confidential material – and nothing in

            these provisions should be construed as authorizing or encouraging a Receiving Party

            in this action to disobey a lawful directive from another court.

    25.     Within thirty (30) days of final termination of this Action, including any appeals, all

            DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes,

            summaries, descriptions, and excerpts or extracts thereof (excluding materials which

            have been admitted into evidence in this Action), shall at the producing Party’s election

            either be returned to the producing Party or be destroyed. The receiving Party shall

            verify the return or destruction by affidavit furnished to the producing Party, upon the

{A07/07713/0077/W1612123.1 }
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Case 2:18-cv-00553-JRG
     1:20-mc-00065-RGA Document
                        Document47
                                 1-1Filed 07/24/19
                                      Filed 02/21/20Page
                                                     Page1860
                                                            ofof
                                                              21120
                                                                 PageID #: 1826
                                                                    PageID #: 73



            producing Party’s request.

    26.     The failure to designate documents, information or material in accordance with this

            Order and the failure to object to a designation at a given time shall not preclude the

            filing of a motion at a later date seeking to impose such designation or challenging the

            propriety thereof. The entry of this Order and/or the production of documents,

            information and material hereunder shall in no way constitute a waiver of any objection

            to the furnishing thereof, all such objections being hereby preserved.

    27.     Any Party knowing or believing that any other party is in violation of or intends to

            violate this Order and has raised the question of violation or potential violation with

            the opposing party and has been unable to resolve the matter by agreement may move

            the Court for such relief as may be appropriate in the circumstances. Pending

            disposition of the motion by the Court, the Party alleged to be in violation of or

            intending to violate this Order shall discontinue the performance of and/or shall not

            undertake the further performance of any action alleged to constitute a violation of this

            Order.

    28.     Production of DESIGNATED MATERIAL by each of the Parties shall not be deemed

            a publication of the documents, information and material (or the contents thereof)

            produced so as to void or make voidable whatever claim the Parties may have as to the

            proprietary and confidential nature of the documents, information or other material or

            its contents.

    29.     Nothing in this Order shall be construed to effect an abrogation, waiver or limitation

            of any kind on the rights of each of the Parties to assert any applicable discovery or

            trial privilege.

{A07/07713/0077/W1612123.1 }
                                                                                                  18
Case 2:18-cv-00553-JRG
     1:20-mc-00065-RGA Document
                        Document47
                                 1-1Filed 07/24/19
                                      Filed 02/21/20Page
                                                     Page1961
                                                            ofof
                                                              21120
                                                                 PageID #: 1827
                                                                    PageID #: 74



    30.     Each of the Parties shall also retain the right to file a motion with the Court (a) to

            modify this Order to allow disclosure of DESIGNATED MATERIAL to additional

            persons or entities if reasonably necessary to prepare and present this Action and (b)

            to apply for additional protection of DESIGNATED MATERIAL.

    31.     This Order shall be binding upon the Parties hereto, their attorneys, and their

            successors,        executors,   personal   representatives, administrators, heirs, legal

            representatives, assigns, subsidiaries, divisions, employees, agents, retained

            consultants and experts, and any persons or organizations over which they have direct

            control.

      So ORDERED and SIGNED this 24th day of July, 2019.




                                                             ____________________________________
                                                               _______________________________
                                                             RODNEY
                                                                DNEY GILSTRAP
                                                                       GILS STRAP
                                                             UNITED
                                                                ITED STATES
                                                                      STATE ES DISTRICT JUDGE
                                                                                          JUD




{A07/07713/0077/W1612123.1 }
                                                                                                  19
Case 2:18-cv-00553-JRG
     1:20-mc-00065-RGA Document
                        Document47
                                 1-1Filed 07/24/19
                                      Filed 02/21/20Page
                                                     Page2062
                                                            ofof
                                                              21120
                                                                 PageID #: 1828
                                                                    PageID #: 75



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

 UNILOC 2017, LLC et al.                          §       CIVIL ACTION NO. 2-18-cv-553
      Plaintiffs,                                 §
   v.                                             §
                                                  §         JURY TRIAL DEMANDED
 GOOGLE LLC,                                      §
     Defendant.                                   §
                                                  §

                               APPENDIX A
            UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                           PROTECTIVE ORDER


         I, ___________________________________________, declare that:

    1.      My address is _________________________________________________________.

            My current employer is _________________________________________________.

            My current occupation is ________________________________________________.

    2.      I have received a copy of the Protective Order in this action. I have carefully read and

            understand the provisions of the Protective Order.

    3.      I will comply with all of the provisions of the Protective Order. I will hold in

            confidence, will not disclose to anyone not qualified under the Protective Order, and

            will use only for purposes of this action any information designated as

            “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,”

            or “HIGHLY CONFIDENTIAL – SOURCE CODE” that is disclosed to me.

    4.      Promptly upon termination of these actions, I will return all documents and things

            designated as      “CONFIDENTIAL,”            “HIGHLY         CONFIDENTIAL            –

            ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE”

            that came into my possession, and all documents and things that I have prepared
{A07/07713/0077/W1612123.1 }
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Case 2:18-cv-00553-JRG
     1:20-mc-00065-RGA Document
                        Document47
                                 1-1Filed 07/24/19
                                      Filed 02/21/20Page
                                                     Page2163
                                                            ofof
                                                              21120
                                                                 PageID #: 1829
                                                                    PageID #: 76



            relating thereto, to the outside counsel for the party by whom I am employed.

    5.      I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

            Protective Order in this action.

         I declare under penalty of perjury that the foregoing is true and correct.

Signature ________________________________________

Date ________________________________________




{A07/07713/0077/W1612123.1 }
                                                                                                 2
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 64 of 120 PageID #: 77




                        EXHIBIT 2
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 65 of 120 PageID #: 78




                                                                          WRITER'S DIRECT DIAL NO.
                                                                                    (903) 525-2239

                                                                           WRITER'S EMAIL ADDRESS
                                                                      mikejones@potterminton.com




February 13, 2020


Etheridge Law Group, PLLC
2600 E. Southlake Blvd., Suite 120 / 324
Southlake, Texas 76092
Jim@EtheridgeLaw.com
Re:     Uniloc 2017 LLC v. Google LLC, No. 2:18-cv-00491, -492, -493, -496, -497, -499, -501,
-502, -503, -504, -548, -550, -551, -552-JRG (E.D. Tex.)
Dear Counsel:
        We write regarding Google LLC’s (“Google”) subpoenas to Uniloc Licensing USA, LLC
(“Uniloc Licensing”) in the above captioned cases. Out of an abundance of caution, Google is
serving the Uniloc Licensing USA subpoenas with the subpoena forms identifying all the above
captioned cases. The original subpoenas noticed the above captioned cases; however, the
subpoena form did not. Other than identifying all of the above captioned cases, the subpoenas
are identical to the subpoena served for the -553 case on December 19, 2019. We are serving a
corrected form to ensure that the above captioned cases all benefit from any discovery produced
in response to the Uniloc Licensing subpoenas.


Very truly yours,



Michael E. Jones

MJ


                                                          Regards,
                                                          /s/Michael E. Jones


cc:    Counsel of record
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 66 of 120 PageID #: 79



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 UNILOC 2017 LLC,

                Plaintiff,                           Civil Action No. 2:18-cv-00491, -492, -493,
                                                     -496, -497, -499, -501, -502, -503, -504, -
        v.                                           548, -550, -551, -552

 GOOGLE LLC,                                         JURY TRIAL DEMANDED
                Defendant.


  DEFENDANT GOOGLE LLC’S NOTICE OF SUBPOENA TO UNILOC LICENSING
                            USA LLC

       Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Google LLC (“Defendant” or

“Google”), by and through its counsel, requests documents from Uniloc Licensing USA LLC

(“Uniloc Licensing”) according to the subpoenas attached hereto as Exhibit A. Any production

will be protected by the operative protective order.




                                                 1
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 67 of 120 PageID #: 80



  Dated: February 13, 2020                Respectfully submitted,

                                          /s/Michael E. Jones
                                          Charles K. Verhoeven
                                          charlesverhoeven@quinnemanuel.com
                                          David A. Perlson
                                          davidperlson@quinnemanuel.com
                                          Antonio Sistos
                                          antoniosistos@quinnemanuel.com
                                          David Doak
                                          daviddoak@quinnemanuel.com
                                          Jonathan Tse
                                          jonathantse@quinnemanuel.com
                                          QUINN EMANUEL URQUHART &
                                          SULLIVAN, LLP
                                          50 California Street, 22nd Floor
                                          San Francisco, CA 94111
                                          Tel: 415-875-6600
                                          Fax: 415-875-6700

                                          Deepa Acharya
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                                          QUINN EMANUEL URQUHART &
                                          SULLIVAN, LLP
                                          1300 I Street NW, Suite 900
                                          Washington, D.C. 20005
                                          Tel: 202-538-8000
                                          Fax: 202-538-8100

                                          Michael E. Jones
                                          State Bar No. 10929400
                                          mikejones@potterminton.com
                                          POTTER MINTON, P.C.
                                          110 N. College Ave., Suite 500
                                          Tyler, Texas 75702
                                          Tel: (903) 597-8311
                                          Fax: (903) 593-0846

                                          Attorneys for Google LLC




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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 68 of 120 PageID #: 81



                                   CERTIFICATE OF SERVICE


The undersigned hereby certifies that all counsel of record who have consented to electronic

service are being served with a copy of this document via e-mail on February 13, 2020.

                                    /s/Sean Damon
                                        Sean Damon




                                               3
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 69 of 120 PageID #: 82




                  EXHIBIT A




                                      4
        Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 70 of 120 PageID #: 83
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                           Eastern District of Texas
                                                       __________              __________

                        Uniloc 2017 LLC                                        )                            2:18-cv-00491, -492, -493,
                               Plaintiff                                       )                            -496, -497, -499, -501,
                                  v.                                           )      Civil Action No.      -502, -503, -504,
                           Google LLC                                          )                            -548, -550, -551, -552
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                          Uniloc Licensing USA LLC c/o The Trust Company
                                       Corporation Trust Center, 1209 Orange St., Wilmington, DE 19801
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Testimony:   YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:
See Attachment A.


 Place: Attn: Jack Blumenfeld                                                          Date and Time:
           Morris Nichols Arsht & Tunnell                                                                02/25/2020 9:00 am
           1201 N. Market St. #1600, Wilmington, DE 19801

          The deposition will be recorded by this method:

       u Production: You, or your representatives, must also bring with you to the deposition the following documents,
         electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
         material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        02/13/2020
                                   CLERK OF COURT
                                                                                         OR
                                                                                                             /s/ Michael E. Jones
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)     Google LLC
                                                                        , who issues or requests this subpoena, are:
Michael E. Jones, 110 North College, 500 Plaza Tower, Tyler, TX 75702, mikejones@potterminton.com, 903-525-2239

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 71 of 120 PageID #: 84
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No.        2:18-cv-00491, -492, -493, -496, -497, -499, -501, -502, -503, -504,
                        -548, -550, -551, -552

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                               on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                           .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                          .

My fees are $                                        for travel and $                              for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                      Server’s signature



                                                                                                    Printed name and title




                                                                                                       Server’s address

Additional information regarding attempted service, etc.:
        Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 72 of 120 PageID #: 85

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
        Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 73 of 120 PageID #: 86
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                           Eastern District of Texas
                                                       __________              __________
                        Uniloc 2017 LLC
                                                                              )                         2:18-cv-00491, -492, -493,
                               Plaintiff                                      )                         -496, -497, -499, -501,
                                  v.                                          )        Civil Action No.
                                                                                                        -502, -503, -504,
                                                                              )
                           Google LLC                                         )
                                                                                                        -548, -550, -551, -552
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                           Uniloc Licensing USA LLC c/o The Trust Company
                                       Corporation Trust Center, 1209 Orange St., Wilmington, DE 19801
                                                       (Name of person to whom this subpoena is directed)

      
      u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
            See Attachment A.


 Place: Attn: Jack Blumenfeld                                                           Date and Time:
          Morris Nichols Arsht & Tunnell                                                                    02/20/2020 9:00 a.m.
          1201 N. Market St. #1600 Wilmington, DE 19801

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
             02/13/2020
Date:

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    s/ Michael E. Jones
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 74 of 120 PageID #: 87
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.         2:18-cv-00491, -492, -493, -496, -497, -499, -501, -502, -503, -504,
                         -548, -550, -551, -552

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                                .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                                on (date)                              ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                       .

My fees are $                                       for travel and $                                for services, for a total of $            0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                       Server’s signature



                                                                                                     Printed name and title




                                                                                                        Server’s address

Additional information regarding attempted service, etc.:
        Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 75 of 120 PageID #: 88
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 76 of 120 PageID #: 89



                                           ATTACHMENT A


                                            DEFINITIONS

        1.      The requests, as well as the instructions provided below, are subject to and

incorporate the following definitions and instructions as used herein, regardless of whether upper

or lower case letters are used:

        2.      “Uniloc Licensing,” “you,” or “your” means Uniloc Licensing USA LLC,

including its officers, directors, current and former employees, counsel, agents, consultants,

representatives, and any other persons acting on behalf of any of the foregoing, and all of Uniloc

Licensing’s affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, and any other legal entities, whether foreign or domestic,

that are owned, or controlled by, or under common control with Uniloc Licensing, and all

predecessors and successors in interest to such entities.

        3.      “Plaintiff” or “Uniloc” means Uniloc 2017 LLC and its officers, directors, current

and former employees, counsel, agents, consultants, representatives, and any other persons acting

on behalf of any of the foregoing, and Plaintiff’s affiliates, parents, divisions, joint ventures,

licensees, franchisees, assigns, predecessors and successors in interest, and any other legal entities,

whether foreign or domestic, that are owned or controlled by Plaintiff, and all predecessors and

successors in interest to such entities.

        4.      “Defendant” or “Google” means Google LLC, its officers, directors, members,

principals, employees, agents, representatives, affiliates, or others acting on Google LLC’s behalf.

        5.      “Uniloc 2017-Google litigations” means Uniloc 2017 v. Google LLC., No. 2:18-

cv-491 (E.D. Tex.); Uniloc 2017 v. Google LLC., No. 2:18-cv-492 (E.D. Tex.); Uniloc 2017 v.

Google LLC., No. 2:18-cv-493 (E.D. Tex.); Uniloc 2017 v. Google LLC., No. 2:18-cv-496 (E.D.


                                                  6
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 77 of 120 PageID #: 90



Tex.); Uniloc 2017 v. Google LLC., No. 2:18-cv-497 (E.D. Tex.); Uniloc 2017 v. Google LLC.,

No. 2:18-cv-499 (E.D. Tex.); Uniloc 2017 v. Google LLC., No. 2:18-cv-500 (E.D. Tex.); Uniloc

2017 v. Google LLC., No. 2:18-cv-501 (E.D. Tex.); Uniloc 2017 v. Google LLC., No. 2:18-cv-502

(E.D. Tex.); Uniloc 2017 v. Google LLC., No. 2:18-cv-503 (E.D. Tex.); Uniloc 2017 v. Google

LLC., No. 2:18-cv-504 (E.D. Tex.); Uniloc 2017 v. Google LLC., No. 2:18-cv-548 (E.D. Tex.);

Uniloc 2017 v. Google LLC., No. 2:18-cv-549 (E.D. Tex.); Uniloc 2017 v. Google LLC., No. 2:18-

cv-550 (E.D. Tex.); Uniloc 2017 v. Google LLC., No. 2:18-cv-551 (E.D. Tex.); Uniloc 2017 v.

Google LLC., No. 2:18-cv-552 (E.D. Tex.); Uniloc 2017 v. Google LLC., No. 2:18-cv-553 (E.D.

Tex.).

         6.    “Asserted Patents” means United States Patent Nos. 6,253,201; 6,329,934;

6,349,154; 6,366,908; 6,452,515; 6,473,114; 6,622,018; 6,628,712; 6,836,654; 6,952,450;

7,012,960; 8,194,632; 8,407,609; 8,949,954; 9,141,489; and 9,564,952. “Asserted Patent” means

any one of the Asserted Patents.

         7.    “Related Patents” means (1) any United States or foreign patent or patent

application related to any Asserted Patent by way of subject matter or claimed priority date, (2) all

parent, grandparent or earlier, divisional, continuation, continuation-in-part, provisionals, reissue,

reexamination, and foreign counterpart patents and applications of thereof, and/or (3) any patent

or patent application filed by one or more of the same applicant(s) (or his or her assignees) that

refers to any of (1) or (2) herein. “Related Patent” means one of the Related Patents.

         8.    “Related Patent Portfolio” means any portfolio or other aggregation of assets that

includes, in part or in whole, at least one Asserted Patent or any Related Patent.

         9.    “Named Inventor” means any person persons named as an inventor on the face of

any Asserted Patent or Related Patent.



                                                  7
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 78 of 120 PageID #: 91



       10.     “Accused Products” means Google’s products or services that Plaintiff accuses of

infringement in the Uniloc 2017-Google litigations: Hangouts, Youtube, Pixel, SAS, Pixel 2, Pixel

2 XL, Pixel 3, Pixel 3 XL, Cloud M&E, Chromecast, Google Play, Google Cloud Load Balancer,

Google 2-Step Verification, Google Photos, Google Lens, Google (Reverse) Image Search;

Google Cloud Vision API, Google AutoML Vision, Nearby Messages API, Google Tone, Featured

Snippets.

       11.     “Fortress Investment” means Fortress Investment Group and its officers, directors,

current and former employees, counsel agents, consultants, representatives, and any other Persons

acting on behalf of any of the foregoing, and Fortress Investment Group’s affiliates, parents,

divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

and any other legal entities, whether foreign or domestic, that are owned or controlled by Fortress

Investment Group and all predecessors and successors in interest to such entities.

       12.     “Fortress” means Fortress Credit Co LLC and its officers, directors, current and

former employees, counsel agents, consultants, representatives, and any other Persons acting on

behalf of any of the foregoing, and Fortress Credit Co LLC’s affiliates, parents, divisions, joint

ventures, licensees, franchisees, assigns, predecessors and successors in interest, and any other

legal entities, whether foreign or domestic, that are owned or controlled by Fortress Credit Co LLC

and all predecessors and successors in interest to such entities.

       13.     “Uniloc Entities” means Uniloc 2017 LLC (“Uniloc 2017”), Uniloc USA, Inc.

(“Uniloc USA”), Uniloc Luxembourg S.A. (“Uniloc Lux”), Uniloc Corporation PTY Limited, and

CF Uniloc Holdings LLC (“CF Uniloc”), Uniloc Management LLC, and Uniloc Licensing USA

LLC (“Uniloc Licensing”), including affiliates, parents, divisions, joint ventures, licensees,

franchisees, assigns, predecessors and successors in interest, and any other legal entities, whether



                                                  8
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 79 of 120 PageID #: 92



foreign or domestic, that are owned or controlled by such entities and all predecessors and

successors in interest to such entities. “Uniloc Entity” means any one of the Uniloc entities.

       14.     “Fortress Entities” includes Fortress Credit Co LLC (“Fortress”), Fortress

Investment Group (“Fortress Investment”). Fortress Credit Corp., CF DB EZ 2017 LLC, and CF

DB EZ LLC, including affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, and any other legal entities, whether foreign or domestic,

that are owned or controlled by such entities and all predecessors and successors in interest to such

entities. “Fortress Entity” means any one of the Fortress Entities.

       15.     “Document” shall be construed under the broadest possible construction under

Federal Rule of Civil Procedure 34 and Federal Rule of Evidence 1001. The term includes any

written, recorded, graphic, or other matter, whether sent or received or made or used internally,

however produced or reproduced and whatever the medium on which it was produced or

reproduced (whether on paper, cards, charts, file, or printouts; tapes, discs, belts, video tapes,

audiotapes, tape recordings, cassettes, or other types of voice recording or transcription; computer

tapes, databases, e-mails; pictures, photographs, slides, films, microfilms, motion pictures; or any

other medium), and any other tangible item or thing of readable, recorded, or visual material of

whatever nature including originals, drafts, and all non-identical copies of each document (which,

by reason of any variation, such as the presence of absence of hand-written notes or underlining,

represents a distinct version). By way of example, the term “document” as used herein shall

include: correspondence; blueprints; memoranda; notes; diaries; letters; telegraphs; telegrams;

telexes; emails; metadata; minutes; agendas; contracts; reports; studies; checks; statements;

receipts; returns; summaries; pamphlets; circulars; press releases; advertisements; books; inter-

office and intra-office communications; handwritten or typewritten notes; notations or summaries



                                                 9
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 80 of 120 PageID #: 93



of telephone conversations, meetings, or conferences; bulletins; computer printouts; databases;

teletypes; telefax; invoices; worksheets; photographs; tape recordings; patents and patent

application materials; patent appraisals; printed publications; trademark applications, certificates

of registration, opinions of counsel; memoranda of agreements, assignments, licenses; reports of

or summaries of either negotiations within or without the corporation or preparations for such; and

all other tangible items of readable, recorded, or visual material of any kind.

       16.     “Source code” means source code, hardware code, machine code, assembly code,

or code written in any programming language, and code that can be compiled or acted upon by a

processor, any listings or printouts thereof, and any release notes describing the features or

modifications of such code.

       17.     “Executable software” means computer files containing encoded instructions

capable of being executed by a processing unit (e.g., a central processing unit or microcontroller),

and any release notes describing the features or modifications of such files. The term shall include,

without limitation, firmware and executable binary files.

       18.     “Communication” means, without limitation, any transmittal, conveyance or

exchange of a word, statement, fact, thing, idea, document, instruction, information, demand,

question or other information by any medium, whether by written, oral or other means, including

electronic communications and electronic mail.

       19.     “Person” means individual, corporation, proprietorship, association, joint venture,

company, partnership or other business or legal entity, including governmental bodies and

agencies.

       20.     “Concerning” and “Relating to” mean relating to referring to, concerning,

mentioning, reflecting, pertaining to, evidencing, involving, describing, discussing, commenting



                                                 10
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 81 of 120 PageID #: 94



on, embodying, responding to, supporting, contradicting, or constituting (in whole or in part), as

the context makes appropriate.

          21.   “Thing” means any tangible objects of any kind and nature other than a Document,

Including prototypes, models, and physical specimens thereof.

          22.   “Refer to,” “referring to,” “relate to,” “related to,” “relating to,” “regarding,” or

“concerning” means in whole or in part constituting, containing, contradicting, embodying,

commenting on, depicting, demonstrating, refuting, evidencing, representing, discussing,

reflecting, describing, analyzing, identifying, mentioning, stating, summarizing, bearing upon,

pertaining to, comprising, involving, alluding to, commenting on, referring directly or indirectly

to, dealing with, or in any way pertaining to.

          23.   The terms “and” and “or” shall be construed either disjunctively or conjunctively

as necessary to bring within the scope of the discovery request all responses that might otherwise

be construed to be outside of its scope.

          24.   The terms “any,” “all,” “every,” and “each” each means and includes the other.

          25.   The singular form of any word shall be deemed to include the plural. The plural

form of any word shall be deemed to include the singular.

          26.   The use of a verb in any tense shall be construed as the use of the verb in all other

tenses.

          27.   “Include” and “including” mean including without limitation.

          28.   The provision of definitions set forth herein shall not be construed to be an

admission that identical or similar terms in the claims of the patent-in-suit should receive such

construction and shall have no binding effect on Google in this or any other proceeding.




                                                 11
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 82 of 120 PageID #: 95



                                        INSTRUCTIONS

       1.      This subpoena seeks documents or things in existence as of the date of service

hereof and to the full extent permitted by the Federal Rules of Civil Procedure.

       2.      This subpoena shall apply to all documents or things in your possession, custody

or control as of the date of service hereof or coming into your possession, custody, or control

before the date of the production.

       3.      If any portion of a document or thing is responsive to a request, the entire document

or thing shall be produced, redacting only privileged material if any.

       4.      You are to produce the original and each non-identical copy of each document or

things requested herein that is in your possession, custody or control.

       5.      Documents produced pursuant to these requests shall be produced in the original

files and shall not be shuffled or otherwise rearranged. Documents which were stapled, clipped, or

otherwise fastened together shall be produced in that form.

       6.      Things produced pursuant to these requests shall be produced in their present form

and shall not be changed or modified in any way.

       7.      In the event that any documents or things called for by these requests or subsequent

requests is to be withheld on the basis of a claim of privilege or immunity from discovery, that

document or thing is to be identified by stating:

               a. the author(s), addressee(s) and any indicated or blind copyee(s);

               b. the document’s or thing’s date, number of pages and attachments or

               c. appendices;

               d. the subject matter(s) of the document or thing;

               e. the nature of the privilege or immunity asserted; and



                                                    12
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 83 of 120 PageID #: 96



               f. any additional facts upon which you would base your claim of privilege or

                   immunity.

       8.      If any of the documents or things are considered “confidential” such documents or

things should be produced subject to the terms and provisions of the protective order entered in

this case. A copy of the protective order is attached as Exhibit 1.

       9.      If no documents or things are responsive to a particular request, you are to state that

no responsive documents or things exist.




                                                 13
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 84 of 120 PageID #: 97



                               REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION 1:

       All Documents Regarding the Asserted Patents or Related Patents.

REQUEST FOR PRODUCTION 2:

       All Documents Regarding any inspection, testing, evaluation, or analysis conducted by

any Person of any product or service of Google for any purpose by or on behalf of Plaintiff,

Including all Documents showing how any product or service of Google compares to one or

more claims of the Asserted Patents or Related Patents.

REQUEST FOR PRODUCTION 3:

       All Documents that support or refute any contention that any of the Accused Products

literally Infringe any claim of the Asserted Patents or Related Patents or Infringe any claim of the

Asserted Patents or Related Patents under the doctrine of equivalents.

REQUEST FOR PRODUCTION 4:

       Documents sufficient to show when You or any Uniloc Entity first became aware of the

existence of each of the Accused Products, Including Documents sufficient to show Plaintiff’s

initial discovery of the alleged Infringement by each of the Accused Products.

REQUEST FOR PRODUCTION 5:

       All Documents Regarding any damage or harm allegedly suffered as a result of the sale,

offer for sale, or use of any of Google’s products, methods, or systems.

REQUEST FOR PRODUCTION 6:

       All Documents Regarding any computation, calculation, or estimation of damages, lost

profits, or reasonable royalties claimed in this or any action involving the Asserted Patents or

Related Patents.




                                                14
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 85 of 120 PageID #: 98



REQUEST FOR PRODUCTION 7:

        All Documents that You have received from Third Parties that relate to the Asserted

Patents or any patent in its chain of priority.

REQUEST FOR PRODUCTION 8:

        Documents sufficient to show any interest that any Third Party has in the outcome of

Uniloc 2017-Google litigations.

REQUEST FOR PRODUCTION 9:

        All Documents Regarding the filing of Uniloc 2017-Google litigations, or any other

lawsuit involving the Asserted Patents or Related Patents, Including Documents Regarding any

public announcements, advertisements, letters to the editor, press releases, or correspondence or

telephone conferences with customers, prospective customers, distributors, trade journals,

professional societies, or other Persons.

REQUEST FOR PRODUCTION 10:

        All Documents and Communications Regarding any discussions with Third Parties

Regarding Infringement of any of the Asserted Patents or Related Patents by Google.

REQUEST FOR PRODUCTION 11:

        All Documents showing how any product or service of any Person or entity compares to

one or more claims of the Asserted Patents or Related Patents, Including any claim charts

Regarding the Asserted Patents or Related Patents.

REQUEST FOR PRODUCTION 12:

        All Documents Regarding the alleged conception, any alleged diligence from conception

to reduction to practice, and any actual reduction to practice of the alleged inventions claimed in

the Asserted Patents or Related Patents, Including inventor notes and any Communications with




                                                  15
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 86 of 120 PageID #: 99



Third Parties Regarding any of the alleged inventions claimed in the Asserted Patents or Related

Patents or each purported inventor’s individual contributions thereto.

REQUEST FOR PRODUCTION 13:

       All Documents Regarding the research, design, development, or testing of the subject

matter described or claimed in the Asserted Patents or Related Patents, Including all handwritten

or typed notes, laboratory notebooks, inventor notebooks, computer programs, code, or data.

REQUEST FOR PRODUCTION 14:

       All Documents Regarding the filing and prosecution of the Asserted Patents or Related

Patents, Including all draft and final versions of such applications, office actions, draft and final

versions of responses to office actions, and all Communications Regarding the filing and

prosecution of such patent applications.

REQUEST FOR PRODUCTION 15:

       All Documents kept by any prosecuting attorneys relating to the Asserted Patents or

Related Patents.

REQUEST FOR PRODUCTION 16:

       All Documents Regarding any assertion or suggestion by any Person, Including Plaintiff

or any Person acting on behalf of Plaintiff, that another Person should or must license the

Asserted Patents or Related Patents.

REQUEST FOR PRODUCTION 17:

       All source code relating to the conception, development, and reduction to practice of the

Asserted Patents or Related Patents or relating to any alleged embodiment of any claim of the

Asserted Patents or Related Patents.




                                                  16
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 87 of 120 PageID #: 100



 REQUEST FOR PRODUCTION 18:

        All Documents Regarding any proposed or actual settlement of any litigation, prospective

 litigation, or disputes involving the Asserted Patents or Related Patents.

 REQUEST FOR PRODUCTION 19:

        All licenses or other agreements that relate to rights to the Asserted Patents or Related

 Patents or Related Patent Portfolio.

 REQUEST FOR PRODUCTION 20:

        All Documents Regarding any license or attempt to license the Asserted Patents or

 Related Patents, by any Person, Including Plaintiff or any Person acting on behalf of Plaintiff.

 REQUEST FOR PRODUCTION 21:

        All Documents Regarding any comparable licenses that would assist in determining a

 reasonable royalty applicable to the Asserted Patents.

 REQUEST FOR PRODUCTION 22:

        All Documents Regarding any royalty rate for the Asserted Patents or Related Patents.

 REQUEST FOR PRODUCTION 23:

        All Documents Regarding any efforts to license, sell, monetize, or otherwise generate

 revenue from the Asserted Patents or Related Patents, Including presentations, mailings, meeting

 minutes, license negotiations, sales negotiations, claim charts, infringement analyses, validity

 analyses, notice letters, cease-and-desist letters, offers, draft license agreements, and term sheets.

 REQUEST FOR PRODUCTION 24:

        All Documents Regarding the value to consumers of any features, functionalities, or other

 technical components allegedly covered by the Asserted Patents or Related Patents.




                                                  17
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 88 of 120 PageID #: 101



 REQUEST FOR PRODUCTION 25:

        All Documents Regarding any actual or projected royalties for any license or other

 agreement relating to the Asserted Patents or Related Patents, in whole or in part, alone or in

 conjunction with any other patents or intellectual property.

 REQUEST FOR PRODUCTION 26:

        Documents sufficient to show Your licensing policies.

 REQUEST FOR PRODUCTION 27:

        All Documents Regarding any accusation by any Person or Entity that another Person is

 Infringing or has Infringed the Asserted Patents or Related Patents.

 REQUEST FOR PRODUCTION 28:

        All Documents Regarding any past or present decisions by any Person Regarding

 whether to assert against any other Person the Asserted Patents or Related Patents, Including any

 advantages or disadvantages of such assertion, any evaluation of value or risk to Plaintiff of such

 assertion, and any likelihood of success of such assertion.

 REQUEST FOR PRODUCTION 29:

        All Documents Regarding the decision to assert the Asserted Patents or Related Patents

 in any litigation, Including all correspondence involving Your or Plaintiff’s shareholders,

 directors, or officers Regarding the decision to file any litigation involving the Asserted Patents

 or Related Patents.

 REQUEST FOR PRODUCTION 30:

        All documents concerning any agreement(s) between Uniloc Licensing and any Uniloc

 Entity concerning the Uniloc 2017-Google litigations.




                                                  18
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 89 of 120 PageID #: 102



 REQUEST FOR PRODUCTION 31:

        Documents sufficient to show the ownership, assignment, or conveyance of any interest

 in the Asserted Patents or Related Patents.

 REQUEST FOR PRODUCTION 32:

        Documents sufficient to identify each Person having a financial or pecuniary interest in

 the outcome of Uniloc 2017-Google litigations, as well as the type, nature, percentage, and

 amount of each Person’s interest.

 REQUEST FOR PRODUCTION 33:

        Documents sufficient to show the sales and revenue for Uniloc products, or Third Party

 products for which Uniloc provided technology that allegedly embody any claim of the Asserted

 Patents.

 REQUEST FOR PRODUCTION 34:

        All Documents relating to discussions with and among Your or Plaintiff’s board

 members, Including minutes of the Board of Directors, Regarding the Asserted Patents or

 Related Patents or Related Patent Portfolio.

 REQUEST FOR PRODUCTION 35:

        All Documents reflecting statements between You and any other Person or entity,

 concerning the patentability, validity, enforceability, scope, interpretation, or valuation of the

 Asserted Patents, Related Patents, or Related Patent Portfolio.

 REQUEST FOR PRODUCTION 36:

        All Documents Regarding the availability or unavailability of any allegedly non-

 infringing alternatives to the Asserted Patents or Related Patents.




                                                  19
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 90 of 120 PageID #: 103



 REQUEST FOR PRODUCTION 37:

         All Documents concerning any patentability or state of the art search, literature search,

 validity search, patentability or state of the art analysis, validity analysis, enforceability analysis,

 unenforceability analysis, invalidity analysis, or infringement analysis related to the Asserted

 Patents or any Related Patents.

 REQUEST FOR PRODUCTION 38:

         All Documents comprising or Regarding Prior Art Regarding the claimed subject matter

 of the Asserted Patents or Related Patents or discussing differences or similarities between the

 Prior Art and any invention disclosed or claimed in the Asserted Patents or Related Patents,

 Including a copy of each Document identified under “References Cited” in the Asserted Patents

 or Related Patents.

 REQUEST FOR PRODUCTION 39:

         All Documents and Communications Regarding any Prior Art, including Your awareness

 of Prior Art, the date and circumstances in which You first gained any awareness of Prior Art,

 and any effort by or on behalf of You to locate Prior Art.

 REQUEST FOR PRODUCTION 40:

         All Documents Regarding the manners or techniques by which any invention that You

 argue is disclosed by any claim in the Asserted Patents or Related Patents allegedly improved

 upon Prior Art.

 REQUEST FOR PRODUCTION 41:

         Documents sufficient to show any public knowledge, use, or sale of any subject matter

 claimed by the Asserted Patents or Related Patents.




                                                    20
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 91 of 120 PageID #: 104



 REQUEST FOR PRODUCTION 42:

        All Prior Art disclosed by any potential or actual licensee of the Asserted Patents,

 Including in prior litigations, negotiations, or discussions.

 REQUEST FOR PRODUCTION 43:

        All Documents Regarding any sale, offer to sell, use, disclosure, invention, or derivation

 of the alleged invention claimed in the Asserted Patents or Related Patents by any Person.

 REQUEST FOR PRODUCTION 44:

        All Documents sent by You to Google through any means of Communication.

 REQUEST FOR PRODUCTION 45:

        All Documents that support or refute any contention that the alleged inventions claimed

 in the Asserted Patents are a commercial success, satisfy a long-felt commercial need, achieved

 any unexpected results, were subject to an expression of disbelief by experts, were copied by

 others, or enjoy any other objective indicia of non-obviousness.

 REQUEST FOR PRODUCTION 46:

        All Documents referring or relating to the marking of any products with the number of

 the Asserted Patents, as the term “marking” is used in 35 U.S.C. § 287.

 REQUEST FOR PRODUCTION 47:

        All Documents Regarding the market or demand for the alleged inventions claimed in the

 Asserted Patents or Related Patents or the technology of the Asserted Patents or Related Patents,

 Including:

        (a)     market studies, market surveys, competitive analyses, analyst reports, or any other
                Document prepared by Plaintiff or relating to market expectations and discussions
                or description of the competitive environment;

        (b)     forecasts, sales/market projections, business plans, or other Documents reflecting
                Plaintiff’s expectations Regarding the market potential for any prototypes, devices,
                or systems that allegedly embody any claim of the Asserted Patents; and

                                                   21
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 92 of 120 PageID #: 105



        (c)     any device, prototype, physical sample, model, or working model that embodies or
                otherwise incorporates or uses the subject matter allegedly disclosed or claimed in
                the Asserted Patents.

 REQUEST FOR PRODUCTION 48:

        All Documents and Communications Regarding any license agreement or any other

 agreement between MPEG LA, LLC and Koninklijke Philips Electronics N.V.

 REQUEST FOR PRODUCTION 49:

        All Documents and Communications Regarding the consideration of whether to designate

 and/or the designation or possible designation of one or more of the Asserted Patents, or any

 related patents, as essential to any standard, including but not limited to the Advanced Video

 Coding standard.

 REQUEST FOR PRODUCTION 50:

        All Documents evaluating the standard essentiality of any of the Asserted Patents, or any

 related patents, whether authored by You, Koninklijke Philips Electronics N.V., MPEG LA,

 LLC, an independent patent expert, or any other individual or entity.

 REQUEST FOR PRODUCTION 51:

        All Communications between You, the International Telecommunication Union, the

 International Organization for Standardization, Koninklijke Philips Electronics N.V., MPEG LA,

 LLC, and/or any other individual or entity regarding the Advanced Video Coding standard.

 REQUEST FOR PRODUCTION 52:

        Documents sufficient to show all relationships between Uniloc Licensing and each of the

 following entities: Uniloc 2017, Uniloc Lux, Fortress Credit Corp., Fortress Investment, Fortress

 Credit Co. LLC, CF Uniloc Holdings LLC, Uniloc Licensing, Uniloc Management LLC, Uniloc

 Corporation PTY Limited, CF DB EZ 2017, and CF DB EZ LLC.




                                                 22
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 93 of 120 PageID #: 106



 REQUEST FOR PRODUCTION 53:

        All Documents and Communications between you and any other party, including without

 limitation any Uniloc Entity or Fortress Entity, relating to the Uniloc 2017-Google litigations,

 any litigation involving any Asserted Patent or Related Patent, or any potential patent litigation

 against Google.

 REQUEST FOR PRODUCTION 54:

        All Documents concerning the cure, or failure to cure, of any Event of Default, default, or

 breach by Uniloc Lux, or any other Uniloc Entity, of any agreement with Fortress Investment,

 Fortress Credit, or Fortress Credit Corp. from 2013 to the present.

 REQUEST FOR PRODUCTION 55:

        Documents sufficient to show the nature and extent of Uniloc Licensing’s operations in

 Texas and California, including but not limited to any operations in the Eastern District of Texas

 and the Northern District of California.

 REQUEST FOR PRODUCTION 56:

        Documents sufficient to show the location of Uniloc Licensing’s principal place of

 business.

 REQUEST FOR PRODUCTION 57:

        Documents sufficient to show the locations of all facilities of Uniloc Licensing in Texas

 and California and a general description of the business operations of those facilities.

 REQUEST FOR PRODUCTION 58:

        Documents sufficient to show the number of employees of Uniloc Licensing in the

 Eastern District of Texas and the Northern District of California.




                                                  23
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 94 of 120 PageID #: 107



 REQUEST FOR PRODUCTION 59:

        Documents sufficient to show the number of employees of Uniloc Licensing in the

 Northern District of California that have knowledge of any of the Asserted Patents and/or

 accused technology in the Uniloc 2017-Google litigations.

 REQUEST FOR PRODUCTION 60:

        Documents sufficient to show the number of employees of Uniloc Licensing in the

 Eastern District of Texas that have knowledge of any of the Asserted Patents and/or accused

 technology in the Uniloc 2017-Google litigations.

 REQUEST FOR PRODUCTION 61:

        Documents sufficient to show any connections that Uniloc Licensing has to California,

 including but not limited to any connections to the Northern District of California.

 REQUEST FOR PRODUCTION 62:

        Documents sufficient to show any connections that Uniloc Licensing has to Texas,

 including but not limited to any connections to the Eastern District of Texas.

 REQUEST FOR PRODUCTION 63:

        All Documents sufficient to show the board structure of Uniloc Licensing including, but

 not limited to, board members, officers, and executives.

 REQUEST FOR PRODUCTION 64:

        All Documents relating to any pleadings, discovery responses, expert reports, discovery

 requests, deposition transcripts, or other testimony Regarding the Asserted Patents or Related

 Patents or any Related Patent Portfolio.

 REQUEST FOR PRODUCTION 65:

        All Documents or Communications relating to any attempts, whether successful or not, to

 commercialize, develop products that embody, or otherwise exploit any purported inventions or

                                                 24
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 95 of 120 PageID #: 108



 technologies disclosed by the Asserted Patents by any person, including the dates of any such

 attempts, the persons involved, and any related documents.

 REQUEST FOR PRODUCTION 66:

        All Documents relating to the purchase of any of the Asserted Patents, Related Patents, or

 any Related Patent Portfolio.

 REQUEST FOR PRODUCTION 67:

        All Documents relating to the sale or potential sale of any of the Asserted Patents,

 Related Patents, or any Related Patent Portfolio.

 REQUEST FOR PRODUCTION 68:

        All Communications with any Named Inventor concerning any Asserted Patents, Related

 Patents, Related Patent Portfolio, Google, Android, or any contemplated or actual patent

 litigation against Google.

 REQUEST FOR PRODUCTION 69:

        All agreements with any Fortress Entity.




                                                 25
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 96 of 120 PageID #: 109



                                        DEPOSITION TOPICS

 TOPIC NO. 1:

        The Asserted Patents or Related Patents.

 TOPIC NO. 2:

        Any inspection, testing, evaluation, or analysis conducted by any Person of any product

 or service of Google for any purpose by or on behalf of Plaintiff, Including all Documents

 showing how any product or service of Google compares to one or more claims of the Asserted

 Patents or Related Patents.

 TOPIC NO. 3:

        Any contention by Plaintiff that any of the Accused Products literally Infringe any claim

 of the Asserted Patents or Related Patents or Infringe any claim of the Asserted Patents or

 Related Patents under the doctrine of equivalents.

 TOPIC NO. 4:

        When You or any Uniloc Entity first became aware of the existence of each of the

 Accused Products, Including Documents Regarding Plaintiff’s initial discovery of the alleged

 Infringement by each of the Accused Products.

 TOPIC NO. 5:

        Any damage or harm allegedly suffered as a result of the sale, offer for sale, or use of any

 of Google’s products, methods, or systems.

 TOPIC NO. 6:

        Any computation, calculation, or estimation of damages, lost profits, or reasonable

 royalties claimed in this or any action involving the Asserted Patents or Related Patents.




                                                 26
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 97 of 120 PageID #: 110



 TOPIC NO. 7:

         Third Parties’ Documents that relate to the Asserted Patents or any patent in its chain of

 priority.

 TOPIC NO. 8:

         Any interest that any Third Party has in the outcome of Uniloc 2017-Google litigations.

 TOPIC NO. 9:

         The filing of Uniloc 2017-Google litigations, or any other lawsuit involving the Asserted

 Patents or Related Patents, Including Documents Regarding any public announcements,

 advertisements, letters to the editor, press releases, or correspondence or telephone conferences

 with customers, prospective customers, distributors, trade journals, professional societies, or

 other Persons.

 TOPIC NO. 10:

         Communications Regarding any discussions with Third Parties Regarding Infringement

 of any of the Asserted Patents or Related Patents by Google.

 TOPIC NO. 11:

         Comparisons of how any product or service of any Person or entity compares to one or

 more claims of the Asserted Patents or Related Patents, Including any claim charts Regarding the

 Asserted Patents or Related Patents.

 TOPIC NO. 12:

         The alleged conception, any alleged diligence from conception to reduction to practice,

 and any actual reduction to practice of the alleged inventions claimed in the Asserted Patents or

 Related Patents, Including inventor notes and any Communications with Third Parties Regarding

 any of the alleged inventions claimed in the Asserted Patents or Related Patents or each

 purported inventor’s individual contributions thereto.

                                                 27
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 98 of 120 PageID #: 111



 TOPIC NO. 13:

        The research, design, development, or testing of the subject matter described or claimed

 in the Asserted Patents or Related Patents, Including all handwritten or typed notes, laboratory

 notebooks, inventor notebooks, computer programs, code, or data.

 TOPIC NO. 14:

        The filing and prosecution of the Asserted Patents or Related Patents, Including all draft

 and final versions of such applications, office actions, draft and final versions of responses to

 office actions, and all Communications Regarding the filing and prosecution of such patent

 applications.

 TOPIC NO. 15:

        Prosecuting attorneys’ Documents relating to the Asserted Patents or Related Patents.

 TOPIC NO. 16:

        Any assertion or suggestion by any Person, Including Plaintiff or any Person acting on

 behalf of Plaintiff, that another Person should or must license the Asserted Patents or Related

 Patents.

 TOPIC NO. 17:

        Source code relating to the conception, development, and reduction to practice of the

 Asserted Patents or relating to any alleged embodiment of any claim of the Asserted Patents.

 TOPIC NO. 18:

        Any proposed or actual settlement of any litigation, prospective litigation, or disputes

 involving the Asserted Patents or Related Patents.

 TOPIC NO. 19:

        Licenses or other agreements Plaintiff has entered into with any Person or Third Parties

 that relate to rights to the Asserted Patents or Related Patents.

                                                   28
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 99 of 120 PageID #: 112



 TOPIC NO. 20:

         Any license or attempt to license the Asserted Patents or Related Patents, by any Person,

 Including Plaintiff or any Person acting on behalf of Plaintiff.

 TOPIC NO. 21:

         Any comparable licenses that would assist in determining a reasonable royalty applicable

 to the Asserted Patents.

 TOPIC NO. 22:

         Any royalty rate for the Asserted Patents or Related Patents.

 TOPIC NO. 23:

         Any efforts by Plaintiff or any Person or entity acting on behalf of Plaintiff to license,

 sell, monetize, or otherwise generate revenue from the Asserted Patents, Including presentations,

 mailings, meeting minutes, license negotiations, sales negotiations, claim charts, infringement

 analyses, validity analyses, notice letters, cease-and-desist letters, offers, draft license

 agreements, and term sheets.

 TOPIC NO. 24:

         The value to consumers of any features, functionalities, or other technical components

 allegedly covered by the Asserted Patents or Related Patents.

 TOPIC NO. 25:

         Any actual or projected royalties for any license or other agreement relating to the

 Asserted Patents, in whole or in part, alone or in conjunction with any other patents or

 intellectual property.

 TOPIC NO. 26:

         Your licensing policies.




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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 100 of 120 PageID #: 113



 TOPIC NO. 27:

        Any accusation by any Person or entity that another Person is Infringing or has Infringed

 the Asserted Patents or Related Patents.

 TOPIC NO. 28:

        Any past or present decisions by any Person Regarding whether to assert against any

 other Person the Asserted Patents or Related Patents, Including any advantages or disadvantages

 of such assertion, any evaluation of value or risk to Plaintiff of such assertion, and any likelihood

 of success of such assertion.

 TOPIC NO. 29:

        The decision to assert the Asserted Patents or Related Patents in any litigation, Including

 all correspondence involving Your or Plaintiff’s shareholders, directors, or officers Regarding

 the decision to file any litigation involving the Asserted Patents or Related Patents.

 TOPIC NO. 30:

        The nature and extent of any agreement(s) between Uniloc Licensing and any Uniloc

 Entity concerning the Uniloc 2017-Google litigations.

 TOPIC NO. 31:

        The ownership, assignment, or conveyance of any interest in the Asserted Patents or

 Related Patents.

 TOPIC NO. 32:

        Identification of each Person having a financial or pecuniary interest in the outcome of

 Uniloc 2017-Google litigations, as well as the type, nature, percentage, and amount of each

 Person’s interest.




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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 101 of 120 PageID #: 114



 TOPIC NO. 33:

        The sales and revenue for Uniloc products, or Third Party products for which Uniloc

 provided technology, that allegedly embody any claim of the Asserted Patents.

 TOPIC NO. 34:

        Discussions with and among Your or Plaintiff’s board members, Including minutes of the

 Board of Directors, Regarding the Asserted Patents or Related Patents.

 TOPIC NO. 35:

        Statements between You and any other Person or entity concerning the patentability,

 validity, enforceability, scope, interpretation, or valuation of the Asserted Patents.

 TOPIC NO. 36:

        Documents Regarding the availability or unavailability of any allegedly non-infringing

 alternatives to the Asserted Patents or Related Patents.

 TOPIC NO. 37:

        Any patentability or state of the art search, literature search, validity search, patentability

 or state of the art analysis, validity analysis, enforceability analysis, unenforceability analysis,

 invalidity analysis, or infringement analysis related to the Asserted Patents or any Related

 Patents.

 TOPIC NO. 38:

        Prior Art Regarding the claimed subject matter of the Asserted Patents or Related Patents

 or discussing differences or similarities between the Prior Art and any invention disclosed or

 claimed in the Asserted Patents or Related Patents, Including a copy of each Document identified

 under “References Cited” in the Asserted Patents or Related Patents.




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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 102 of 120 PageID #: 115



 TOPIC NO. 39:

         Communications Regarding any Prior Art, including Your awareness of Prior Art, the

 date and circumstances in which You first gained any awareness of Prior Art, and any effort by

 or on behalf of You to locate Prior Art.

 TOPIC NO. 40:

         The manners or techniques by which any invention that You argue is disclosed by any

 claim in the Asserted Patents or Related Patents allegedly improved upon Prior Art.

 TOPIC NO. 41:

         Any public knowledge, use, or sale of any subject matter claimed by the Asserted Patents

 or Related Patents.

 TOPIC NO. 42:

         Prior Art disclosed by any potential or actual licensee of the Asserted Patents, Including

 in prior litigations, negotiations, or discussions.

 TOPIC NO. 43:

         Any sale, offer to sell, use, disclosure, invention, or derivation of the alleged invention

 claimed in the Asserted Patents or Related Patents by any Person.

 TOPIC NO. 44:

         Communications sent by You to Google through any means of Communication.

 TOPIC NO. 45:

         Any contention that the alleged inventions claimed in the Asserted Patents are a

 commercial success, satisfy a long-felt commercial need, achieved any unexpected results, were

 subject to an expression of disbelief by experts, were copied by others, or enjoy any other

 objective indicia of non-obviousness.




                                                   32
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 103 of 120 PageID #: 116



 TOPIC NO. 46:

        The marking of any products with the number of the Asserted Patents, as the term

 “marking” is used in 35 U.S.C. § 287.

 TOPIC NO. 47:

        The market or demand for the alleged inventions claimed in the Asserted Patents or

 Related Patents or the technology of the Asserted Patents or Related Patents, Including:

        (a)     market studies, market surveys, competitive analyses, analyst reports, or any other
                Document prepared by Plaintiff or relating to market expectations and discussions
                or description of the competitive environment;

        (b)     forecasts, sales/market projections, business plans, or other Documents reflecting
                Plaintiff’s expectations Regarding the market potential for any prototypes, devices,
                or systems that allegedly embody any claim of the Asserted Patents; and

        (c)     any device, prototype, physical sample, model, or working model that embodies or
                otherwise incorporates or uses the subject matter allegedly disclosed or claimed in
                the Asserted Patents.

 TOPIC NO. 48:

        Communications Regarding any license agreement or any other agreement between

 MPEG LA, LLC and Koninklijke Philips Electronics N.V.

 TOPIC NO. 49:

        Communications Regarding the consideration of whether to designate and/or the

 designation or possible designation of one or more of the Asserted Patents, or any related

 patents, as essential to any standard, including but not limited to the Advanced Video Coding

 standard.

 TOPIC NO. 50:

        The standard essentiality of any of the Asserted Patents, or any related patents, whether

 authored by You, Koninklijke Philips Electronics N.V., MPEG LA, LLC, an independent patent

 expert, or any other individual or entity.


                                                 33
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 104 of 120 PageID #: 117



 TOPIC NO. 51:

        Communications between You, the International Telecommunication Union, the

 International Organization for Standardization, Koninklijke Philips Electronics N.V., MPEG LA,

 LLC, and/or any other individual or entity regarding the Advanced Video Coding standard.

 TOPIC NO. 52:

        All relationships between Uniloc Licensing and each of the following entities: Uniloc

 2017, Uniloc Lux, Fortress Credit Corp., Fortress Investment, Fortress Credit Co. LLC, CF

 Uniloc Holdings LLC, Uniloc Licensing, Uniloc Management LLC, Uniloc Corporation PTY

 Limited, CF DB EZ 2017, and CF DB EZ LLC.

 TOPIC NO. 53:

        Communications between you and any other party, including without limitation any

 Uniloc Entity or Fortress Entity, relating to the Uniloc 2017-Google litigations, any litigation

 involving any Asserted Patent or Related Patent, or any potential patent litigation against

 Google.

 TOPIC NO. 54:

        The cure, or failure to cure, of any Event of Default, default, or breach by Uniloc Lux, or

 any other Uniloc Entity, of any agreement with Fortress Investment, Fortress Credit, or Fortress

 Credit Corp. from 2013 to the present.

 TOPIC NO. 55:

        The nature and extent of Uniloc Licensing’s operations in Texas and California,

 including but not limited to any operations in the Eastern District of Texas and the Northern

 District of California.

 TOPIC NO. 56:

        The location of Uniloc Licensing’s principal place of business.

                                                 34
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 105 of 120 PageID #: 118



 TOPIC NO. 57:

         The locations of all facilities of Uniloc Licensing in Texas and California and a general

 description of the business operations of those facilities.

 TOPIC NO. 58:

         The number of employees of Uniloc Licensing in the Eastern District of Texas and the

 Northern District of California.

 TOPIC NO. 59:

         The number of employees of Uniloc Licensing in the Northern District of California that

 have knowledge of any of the Asserted Patents and/or accused technology in the Uniloc 2017-

 Google litigations.

 TOPIC NO. 60:

         The number of employees of Uniloc Licensing in the Eastern District of Texas that have

 knowledge of any of the Asserted Patents and/or accused technology in the Uniloc 2017-Google

 litigations.

 TOPIC NO. 61:

         Any connections that Uniloc Licensing has to California, including but not limited to any

 connections to the Northern District of California.

 TOPIC NO. 62:

         Any connections that Uniloc Licensing has to Texas, including but not limited to any

 connections to the Eastern District of Texas.

 TOPIC NO. 63:

         The board structure of Uniloc Licensing including, but not limited to, board members,

 officers, and executives.




                                                  35
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 106 of 120 PageID #: 119



 TOPIC NO. 64:

        Any pleadings, discovery responses, expert reports, discovery requests, deposition

 transcripts, or other testimony Regarding the Asserted Patents or Related Patents or any Related

 Patent Portfolio.

 TOPIC NO. 65:

        Communications relating to any attempts, whether successful or not, to commercialize,

 develop products that embody, or otherwise exploit any purported inventions or technologies

 disclosed by the Asserted Patents by any person, including the dates of any such attempts, the

 persons involved, and any related documents.

 TOPIC NO. 66:

        The purchase of any of the Asserted Patents, Related Patents, or any Related Patent

 Portfolio.

 TOPIC NO. 67:

        The sale or potential sale of any of the Asserted Patents, Related Patents, or any Related

 Patent Portfolio.

 TOPIC NO. 68:

        Communications with any Named Inventor concerning any Asserted Patents, Related

 Patents, Related Patent Portfolio, Google, Android, or any contemplated or actual patent

 litigation against Google.

 TOPIC NO. 69:

        Agreements with any Fortress Entity.




                                                36
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 107 of 120 PageID #: 120




                         EXHIBIT 3
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 108 of 120 PageID #: 121
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 109 of 120 PageID #: 122
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 110 of 120 PageID #: 123
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 111 of 120 PageID #: 124




                         EXHIBIT 4
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 112 of 120 PageID #: 125
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 113 of 120 PageID #: 126
Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 114 of 120 PageID #: 127




                         EXHIBIT 5
     Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 115 of 120 PageID #: 128


David Doak

From:                             Liana Solomon <LSolomon@aalegalservice.com>
Sent:                             Wednesday, December 18, 2019 4:27 PM
To:                               Jonathan Tse; Joseph LeRoy
Cc:                               Sean Damon
Subject:                          RE: Service Request
Attachments:                      OC24489.jpg


                                                    [EXTERNAL EMAIL]


There is no suite 360. See attached picture of the companies on the 3 rd floor. Do you have an alternate address-like an
agent for service?

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                                        8:00 A.M. – 9:00 P.M. weekends
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Liana Solomon| Ext. 206
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                                       HOUSE/TRAVELING NOTARY



From: Jonathan Tse [mailto:jonathantse@quinnemanuel.com]
Sent: Wednesday, December 18, 2019 3:27 PM
To: Liana Solomon <LSolomon@aalegalservice.com>; Joseph LeRoy <josephleroy@quinnemanuel.com>
Cc: Sean Damon <seandamon@quinnemanuel.com>
Subject: RE: Service Request

Suite 360 at 620 Newport Center Drive, Newport Beach, CA 92660. What’s the entity in the directory that corresponds
to that suite number?



                                                            1
     Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 116 of 120 PageID #: 129

From: Liana Solomon [mailto:LSolomon@aalegalservice.com]
Sent: Wednesday, December 18, 2019 3:17 PM
To: Jonathan Tse <jonathantse@quinnemanuel.com>; Joseph LeRoy <josephleroy@quinnemanuel.com>
Cc: Sean Damon <seandamon@quinnemanuel.com>
Subject: RE: Service Request

                                                    [EXTERNAL EMAIL]


There is no Uniloc on the directory and security guard doesn’t recognize name. Do you have a suite number?

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      DELIVERIES, JUDGE’S SIGNATURES, PHOTOCOPY, DEPOSITION OFFICER, WRIT SERVICE and IN-
                                       HOUSE/TRAVELING NOTARY



From: Jonathan Tse [mailto:jonathantse@quinnemanuel.com]
Sent: Wednesday, December 18, 2019 3:16 PM
To: Joseph LeRoy <josephleroy@quinnemanuel.com>; Liana Solomon <LSolomon@aalegalservice.com>; Tim Anderson
<TAnderson@aalegalservice.com>
Cc: Sean Damon <seandamon@quinnemanuel.com>
Subject: RE: Service Request

There should at least be a Uniloc entity in the building directory. Can Tim confirm?

From: Joseph LeRoy
Sent: Wednesday, December 18, 2019 2:52 PM
To: Liana Solomon <LSolomon@aalegalservice.com>; Tim Anderson <TAnderson@aalegalservice.com>
Cc: Sean Damon <seandamon@quinnemanuel.com>; Jonathan Tse <jonathantse@quinnemanuel.com>
Subject: RE: Service Request


                                                            2
       Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 117 of 120 PageID #: 130
+Sean and Jon

Joseph LeRoy
Paralegal,
Quinn Emanuel Urquhart & Sullivan, LLP

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San Francisco, CA 94111
415-875-6366 Direct
415.875.6600 Main Office Number
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From: Liana Solomon [mailto:LSolomon@aalegalservice.com]
Sent: Wednesday, December 18, 2019 2:49 PM
To: Joseph LeRoy <josephleroy@quinnemanuel.com>; Tim Anderson <TAnderson@aalegalservice.com>
Subject: RE: Service Request

                                                                       [EXTERNAL EMAIL]


We have attempted service on UNILOC LICENSING USA. The given address is a large complex with many suites. They are
not listed on the directory. The security guard is unfamiliar with them. Guard stated to check on 11 th floor with executive
suites. Server checked with executive suites but they are unfamiliar with this company.

Please advise. Paperwork on hold.

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                                       HOUSE/TRAVELING NOTARY



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Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 118 of 120 PageID #: 131




                         EXHIBIT 6
      Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 119 of 120 PageID #: 132


David Doak

Subject:                            FW: Uniloc v. Google (-553) - Email memorializing February 7 meet and confer




From: Travis Richins [mailto:travis@etheridgelaw.com]
Sent: Monday, February 10, 2020 7:29 PM
To: QE-Uniloc <qe-uniloc@quinnemanuel.com>; 'Mike Jones' <mikejones@potterminton.com>; 'Patrick C. Clutter, IV'
<patrickclutter@potterminton.com>; glennthames@potterminton.com
Cc: IPTeam <IPTeam@etheridgelaw.com>
Subject: Re: Uniloc v. Google (-553) - Email memorializing February 7 meet and confer


                                                      [EXTERNAL EMAIL]




Jonathan,



Below is our summary of the call, which we prepared before receiving your summary and which largely tracks
yours. We have also responded to some of your comments below in blue.

***

        It is our understanding from CT Corp that Uniloc USA and Uniloc Licensing have not been served.

***

Travis Richins | Etheridge Law Group
2600 East Southlake Blvd | Suite 120-324 |Southlake, TX 76092
travis@etheridgelaw.com | T 214 601 0678 | F 817 887 5950



From: Jonathan Tse <jonathantse@quinnemanuel.com>
Sent: Monday, February 10, 2020 5:25 PM
To: Jim Etheridge <jim@etheridgelaw.com>; Travis Richins <travis@etheridgelaw.com>; Ryan Loveless
<ryan@etheridgelaw.com>; IPTeam <IPTeam@etheridgelaw.com>
Cc: QE-Uniloc <qe-uniloc@quinnemanuel.com>; Mike Jones <mikejones@potterminton.com>; Patrick C. Clutter, IV
<patrickclutter@potterminton.com>; Glenn Thames <glennthames@potterminton.com>
Subject: Uniloc v. Google (-553) - Email memorializing February 7 meet and confer

Counsel,

Thank you for the meet and confer on Friday, February 7. Below is a summary memorializing the February 7 meet and
confer.

***

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       Case 1:20-mc-00065-RGA Document 1-1 Filed 02/21/20 Page 120 of 120 PageID #: 133

Uniloc’s issues with Google’s subpoenas to Uniloc USA and Uniloc Licensing USA

Uniloc recognized that Google had provided proofs of service of the Uniloc USA and Uniloc Licensing USA subpoenas but
told Google that it did not properly serve the subpoenas. Uniloc said that it spoke to an employee at CTC, the registered
agent of service of process for Uniloc USA and Uniloc Licensing USA, and that the employee never received the
subpoenas. Uniloc noted that the Proofs of Service stated that the process server appears to be from Burlingame,
California but served the subpoena in Delaware. Google told Uniloc that it will investigate. Google asked for the contact
information of the person Uniloc spoke to, or if Uniloc was uncomfortable providing that information, to provide that
person with the contact information for Google’s attorney. Uniloc said it would pass along that proposal. On Friday,
David Perlson emailed you and said that the process server is physically located in Delaware and that she was
conducting the service for A&A legal service, located in California. Regardless of the location of the server, our
understanding is that the entities were not properly served. We suggest you contact CTC yourself.

***


Jonathan Tse
Associate,
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